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EXHIBIT A

EXHIBIT A

 

 

RQGER P. CRO'I‘EAU & AssociATES, §;m.

' 9120 West Posi Road, Suite 139 ° Lzs Vegaé,,Ne\-'ada 89148 °

Telephone: ('/'02) 254~7775 ° Faosimile (702) 228-7719

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ROGER P, CRO']`EAU, ESQ. .
Nevada Bar .NO_ 4958 cLERK oF me couRT
TIMOT!~IY E. RHODA, BSQ.

Nevada Bar No. 7878

ROGER P. CROTEAU & ASSOCIATES, LTD.

9120 West Post Road, Suite 100

Las Vegas, Nevada 89148

(702) 254-7775 (telephone)

(702) 228-7719 (facsimlle)

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Altomeysfor Plairzlz_'fj"

 

D!S”l`RIC'l` COURT
CLARK COUNTY, NEVADA
***
L.v DIAGNOSTICS, LLC, a ‘N@vada limited ) A- l 7 - 7 5 3 6 7 l ~C
liability company, ) .
t ) Case No.
Plaintlffs, ) XVI I
) Dept. No.
vs. )
)
THB I~-IARTI~`ORD FINANCIAL SERV]CES )
GROUP, l`NC., a Counectiout corporation; )
SENTINEL INSURANCE CGMPANY, LTD., )
A Cormect'icut colpoi'ation; l')OES I through X, )
inclusive; and ROE CORPORATIONSI )
through X, inclusive, )
)
Defendants.
;C;Q;l\_’l_m__ll!l

COMES NO‘W, Plaintifl`, LV DIAGNOSTICS, LLC, a Nevada limited liability company, by
and through its attomeys, ROGER P. CROTEAU & ASSOCIAT`ES, L'I`D., and hereby complains
and allege as follows:

PARTIES

l. At all times relevant to this matter, Plaintiff, LV DIAGNOSTlCS, LLC, (he/'einaf¢e)'

"P!crimzf/’f), Wa$ and is a Nevada limited liability company authorized to do business in the

7S*cate of Nevada.

Page l of 7

 

 

ROGER P. CROTEAU & AssoCzA"ras,~ L'rr).

9 9120~ West Post Road, Suite 100 s Las Vegas, Nevada 89148 s

 

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At all times relevant to this matter, Defendant, THE HARTFORD FINANCIAL SERVICES
GROUP, fNC., dba THE HARTFORD, was and is a Connecticut corporation
At all times relevant to this matter, I)efendant SENTI'NEL INSURANCE COMPANY,

L'l`D., was and is a Connecticut corporation

Plaintiff is unaware of the true names and capacities whether individuals corporation,

associate, or otherwise of Defendants DOES I through X and ROE Corporations I through
X, inclusive, and therefore sues these Defendants by such fictitious names Plaintiff is
informed and believes and thereupon alleges that the DOE and ROE CORPORATIONS
Defendants, and each of them, are in some manner responsible and liable for the acts and
damages alleged in this Cornplaint. Plaintiff will seek leave of this Court to amend this
Complaint to allege the true names and capacities of the DOE and ROE CORPORATIONS
Defcndants when the true names of the DOES and ROE CORPORA'I`IGNS Defendants are
ascertained

GENIERAL ALLEGATIONS
Plaintiff repeats and realleges each and ever>r allegation contained in paragraphs 1 through
4 hereof as if set forth fully herein
Plaintiff and Defendants entered into a contract of insurance covering the building and
business personal property at Plaintiffs’ location at 600 South Martin Luther King,
Boulevard, has Vegas, Nevada ("the Policy").
The Policy’s coverage dates were from December 1, 2014 to Decernber 1,2015.
On or about April 8, 20i5, Defendants’ business location was the victim cfa break-in that
resulted in the theft and loss of a substantial amount of Plaint.if‘t`s medical and business
equipment that was covered by the policy for such a loss.
T his loss was first reported to Defendants on April 13, 2015 ("the claim ").
On June 15, 2015, Defendants sent a letter to Plaintil"f stating they were attempting to
complete their investigation and adjustment ofthe loss and requested certain documentation

in support of the claim

Page 2 of 7

 

 

 

ROGER P. CRo:r:s/tu & Assoc:Arss, L're.
iepimne; (702)254-7775 t

' 912() West Post Road, Suite 100 ~ Las Vegas, Nevada 89148 <‘

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Plainti_ff provided documentation as requested Thereaiter Defendants followed up with a

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letter dated July 6, 2015, stating the documentation provided was insufficient and requested

 

Facsim§ie (702) 228-77l 9

2
3 addition records
4 12. 'l"hereafi‘er on a least two other occasions Plaintiff again provided Defendants with
5 documentation supporting the claim. Each time the documentation was deemed insufficient
6 by l)et`endants and the claim denied.
7 l3, ‘As a result ofDefendants’ actions, Plaintiff suffered damages in an amount to be determined
8 at trial.
9 FIRST CAUSE OF ACTION
10 (Bt_'each of Contract)
] 1 l4~. Plaintiff repeats and realleges each and every allegation contained in paragraphs l through
12 13 hereof as if set forth fully herein.
13 15, 'l`here was a valid and existing insurance agreement between Plaintit`f and Defendants at the
14 time of Plai:ié"ritifi" s claim.
15 16. Plaintiff performed its duty under the contact by paying premiums and reporting the claim
16 of loss to Det`endants.
l 7 l 7. Defendants breached the agreement, inter alia, by failing and refusingto compensate Plaintiff
18 for its rightful claim under said insurance contract
19 18. As a direct and proximate result of Defendants’ refusal and failure to compensate Plaintift’s
20 loss under the insurance contract, Plaintiff has suffered damages in an amount in excess of
21 ran ritousand norms (sio,ooo.oo).
22 l9. lt has become necessary for Plaintiff to retain the services ofan attorney to protect its rights
23 and prosecute this claim, and is entitled to recover attorneys fees and costs

24 20, Plaintiff reserves the right to amend this Complaint under the Nevada Rules of Civil

25 Procedurc as further facts become known.
26 ///

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Page3 of 7

 

 

 

 

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Case 2:17-cv-01371-.]C|\/|-PAL Document 1-1 Filed 05/15/17 Page 5 of 77

Rocaa P. Caora.au & Asso<:raras, Lrn,

s 9120 West' Post Road, Suite 100 » Las Vegas, Nevada 89148 °

s elephone: (702) 2545/775 ‘ Facsirni§e (702) 223-77l 9

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_SECOND CLAIM § OR RELIE_F_

(Breach of the Covenant of Good Faith and Fair Dealing - Contractual)
Plaintii'f repeats and realleges each and every allegation contained in paragraphs l through
20 hereof as if set forth fully herein.
'I`here is an implied covenant of good faith and fair dealing in every contract
Plaintiff and Defendants entered into a valid contract for insurance coverage
Defendants owed Plaintiff a duty of good faith and fair dealing arising from that contract
Defendants breached its duty of good faith and fair dealing by, inter alia, refusing to properly
compensate l"laintiff pursuant to its rightful claim for losses under said insurance contract
As a direct and proximate result ofDefendants’ actions, Plaintiff has suffered damages in an
amount in excess of Ten Thousand Dollars (310,000.00).
lt has become necessary for Plaintiff to retain the services of an attorney to protect its rights
and prosecute this claim and is entitled to recover attorney’s fees and costs
Plaintiff reserves the right to amend this Complaint under the Nevada Rules of Civil
Procedure as further facts become known.
THIRD CAUSE OF ACTION

(Breach of the Covenant of Gocd Faith and Fair Dealing - Tortious)
Plaintiff repeats and realleges each and every allegation contained in paragraphs l through
28 hereof as if set forth fully herein
There is an implied covenant of good faith and fair dealing in every contract
Plaintii'f and Defendants entered into a valid contract for insurance coverageh
Defendants owed Plaintiff a duty of good faith and fair dealing arising from that contractl
As an insurer, Defendants Owed Plaintii"f a fiduciary-like duty under the contract and there
was a special element of reliance by Plaintiff.
Defendaiits breached their duty of good faith and fair dealing by, infer alia, refusing to
properly compensate Plaintift` for its rightful claim for losses under said insurance contract
As a direct and proximate resultefl)efendants’ actions, Plainti'l"f has suffered damages in an

amount in excess of'l`en 'l'housand Dollars ($10,000.00).

Page 4 of 7

 

 

 

 

Rocsa P. Caoraae & Ass'octA'rEs, Lrn.

' 912(,`= West Post Road, Suite 100 ‘ Las Vegas, Nevada 891.48 “

 

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lt has become necessary for Plaintiff to retain the services of an attorney to protect its rights
and prosecute this claim and is entitled to recover attorney’s fees and costs.
Plaintifi" reserves the right to amend this Complaint under the Nevada Rules of Civil
Procedure as further facts become known. ~'
FOUR'I`H CAUSE OF 'ACT!ON
(Bad Faini)

A Plaintii`f repeats and realleges each and every allegation contained in paragraphs l through

' 37 hereof as if set forth fully herein.

'l`he acts and omissions ofDefendants in failing to provide coverage for Plaintift’s losses as
set forth in this Complaint, and those yet to be discovered, constitute had faith.
As a direct and proximate result of Dei"endants’ bad faith, Plaintiffhas suffered damages in
an amount in excess of 'l` en 'I`housand Dollars ($]0,000.00). `
l’laintiffs are further entitled to punitive damages as a result of its bad faith in the denial of
Plaintifi"’ s claim. NRS Plaintiff is further entitled to punitive damages as a result of
Dei"endants’ breach of said duty and the covenant Plaintift` is further entitled to punitive
damages as a result ol"Defendants‘ breach of said duty and the covenant NRS §42.00`5.
lt has become necessary for Plaintiff to retain the services of an attorney to protect their
rights and prosecute this claim and are entitled to recover their attorney’s i°ees and costs
Plaintiff reserves the right to amend this Complaint under the Nevada Roles of Civil
Procedure as further facts become known.
lt has become necessary for Plaintii"f to retain the services of an attorney to protect its rights ~
and prosecute this claim and is entitled to recover attorney’s fees and costs.
Plaintiff reserves the right to amend this Complaint_under the Nevacla Rnles of Civii
Procedure as further facts become known d

FIFTH CAUSE OF ACTK()N

(Unfair 'I`rade I’ractices)

Plaintiff repeats and realieges each and every allegation contained in paragraphs l through

45 hereof as if set forth fully herein

Page 5 of 7

 

 

  

 

ROGER P. CROTEAU & ASSOCIATES, ZTD.

~ 9’:20 West'Post Roae’, Su£te 109 '~ Las Vegas, Nevada 89§48 ~‘

 

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'i`e§ephone: (702) 254-7775 ¢ ?acsi:niie (792) 223~7719

 

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Defendants have engaged in unfair trade practices, including the failure in its obligation to
provide coverage on Plaintifi"’s claim.

As a direct and proximate result ofDefendants’ unfair trade practices, Plaintiff has suffered
damages in an amount in excess of"l`en Thousand Doilars ($l0,000.00).

Plaintiff is further entitled to punitive damages as a result of Defendants engaging in unfair
trade practices

lt has become necessary for Plaintiff to retain the services of an attorney to protect its and
prosecute this Claim. n

Plaintiff reserves the right to amend this Coinplaint under the Nevada Rules of Civil
Proceclure as further facts become known.

WHEREFORE, Plaintiff, l,V Diagnostics, LLC, prays forjudgment as follows:

A. On itsliirst Claini for Relief, for general and special damages'in excess of Ten
Thousand Dollars ($10,000.00);
B. On its Second Claiin for Relief, for general and special damages in excess of 'I`en

Thousand Dollars ($10,000.00);

C. On its Third Claiin for Relief, for general and special damages in excess of Ten
Thousand Dollars ($10,000.00);

D, On its Fourth Claim for Relief, for general and special damages in excess oi" 'l`en
'l`housand Dollars ($10,000.00);

E. On its Fii"th Claim for Relief, for general and special damages in excess of Ten

Thousand Doliars ($10,000.00);

F. For punitive damages in an amount to be determined at trial;

G. For costs and attorneys’ fees incurred in bringing this action; and

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1 H. For such other and further relief as this Couxt may deem meet and proper.
2 I)Arr~;n this ?/Uy cf Aprii, 2017.
3 d ROGF cRo AU & AssociArEs LrD.
4 eaja
5 - ROGER P TEAU, `E~SQ.’>
Nevada Bar 0.4958
6 TIMOTHY E. RHODA, ESQ.
Nevada BarNo. 7878 '
7 ROGER P. CROTEAU & ASSOCIA'I`ES, I.,'l`D.
9120 West Post Road, Suite lOO
3 Las Vegas, Nevada 89148
Attorneysfo)' Plainfiff
9 LV DIAGNOSTICS, LLC
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EXHIBIT B

EXHIBIT B

 

 

 

 

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SPECTRU|V| POL|CY DECLARAT|ONS (Continued)
PO|__|CY NUMBER: 53 SBA RB5241

Loeation(s), Bui|ding(s), Business of Named insured and Schedu|e of Coverages for Premises as designated by
Number beloW.

Location: 001 Bui|ding: 001

600 S MARTIN L KING BLVD
LAS VEGAS NV 89106

Description of Business:
MEDICAL DIAGNOSTIC CENTERS

Deducdbw: $ l,OOO PER OCCURRENCE

BU|LD|NG AND BUS|NESS PERSONAL PROPERTY L|lVllTS OF lNSURANCE

BU|LD|NG

NO COVERAGE

BUS|NESS PERSONAL PROPERTY

REPLACEMENT COST $ 292, 000

PERSONAL PROPERTY OF OTHERS

REPLACEMENT COST NO COVER_AGE

MONEY AND SECURITIES

INSIDE THE PREMISES s 10,000
OUTSIDE THE PREMISES $ 5,000
Form SS 00 0212 06 Page 002 (CONTINUED ON NEXT PAGE)

Process Date: 11/25/14 Policy Expiration Date: 12/01/15

 

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PREM|U|V| STRETCH FOR MED|CAL AND DENTAL OFF|CES
AND HEALTHCARE SERV|CE PROV|DERS SUMMARY

SUMMARY OF COVERAGE LiiV|iTS

This is a summary of the Coverages and the Limits of insurance provided by the Premium Stretch For i\/iedicai And
Dentai Offices And i-ieaithcare Service Providers form SS 41 55 Which is included in this poiicy. No coverage is
provided by this summary. Referto coverage form SS 41 55 to determine the scope of your insurance protection

The Lirnits of insurance for the following Additionai Coverages are in addition to any other limit of insurance provided

under this poiiey:

 

B|anket Coverage Limit of insurance: $350,000
B|anket Coverages

Accounts Receivabie- On/Off Premises

Computers and i\/iedia

Debris Removai

Personai Property of Others

Spoi|age~ Perishabie i\/iedicines and i\/iedicai Suppiies
\/a|uable Papers and Records- On/Off Premises

 

 

 

Coverage
Brands and l.abe|s
Ciaim Expenses
Computer Fraud
Contract Pena|ty
Employee Dishonesty (inciuding ER|SA)
Fine Arts
Forgery
Laptop Computers- Woridwide Coverage
Off Premises Utiiity Services - Direct Damage
Ordinance or Law
Undamaged Part
Demolition
increased Cost of Construction
Outcioor Signs
Pairs and Sets
Property at Other Premises
Saiespersons’ Sampies
Sevver and Drain Back Up
Sump Overfiow or Surnp Pump Faiiure
Tenants Bui|ding and Business Personai Property
Coverage- Required by Lease
Tenant Giass
Transit Property in the Care of Carriers for i-iire
Unauthorized Business Card Use

Form SS 48 02 01 10

Limit

Up to Business Personal Property Limit
$ 10,000

$ 5,000

$1,000

$ 25,000

$ 50,000

$ 25,000

$ 10,000

$ 25,000

included in Buiiding Limit

$ 25,000

$ 50,000

Fuii \/aiue

Up to Business Personal Property Limit
$ 50,000

$ 25,000

included up to Covered Property Limits
$50,000 .

$ 20,000

included

$ 25,000
$ 5,000

Page 1 of 2

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EXHIBIT C

EXHIBIT C

 

 

 

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The Hartford Financial Services Group, Inc.
Org_anizational List - Domeslic and Foreign Subsidiaries

lstAgCllolce, Ine. (South Dakota)

Aecess CovemgeCorp,Inc. (Nortit Ccmolina)

Access CovcmgeCorp Technologies, Inc. (Nortil Carolina)
Amerloan Mntusity Llfo Ins\uance Company (Conneoticut)
Arohway 60 R, LLC (D¢Iawam)

Business Management Group, Inc. (Cunnecticut)

DMS R, LLC (Dela\vare)

Dowl\lands Li ability Maoagement Ltd. (United Kiugdom)
Bxcess Iusumnce Company, Limited (Ui\ited Kingdont)
PencomtReinsuxance Company, Ltd. (chxuds)

First S¢nte Insurance Company (Cormeeticut) `

Fountnin Investoxs ILLC (Deluware)

Fountain Investors I[LLC (Deluwure)

Fountain investors ]IILLC (Delawnte)

Fountain lnvestols IV LLC (Delaware)

F'[`C Resolution Compauy, LLC (Deln\varc)

Hart lie Gmup, L.L.C. (Conneeticut)

Hartford Accidcnt and indemnity Compsuy (Conneoticut)
Haltford Admiuistraiive Services Company (Minncsola)
Hartl’ord Casualty General Ager\cy, Ino. (Texas)

Hnrtford Cos\inity Ins\imuee Company (lndiona)

Hnrtf`ord Yinimcial P`roriucts Intcmat'lonai Limited (United Kingdam)
Hnrtford Finannlal Sczvlces, LLC (Delawarc)

Haitford Fire General Ageooy, Inc. (Texas)

Hmtford Plrc ]nsurance Company (Cunnuuiic\lt)

Hartford Funds Distributoxs, LLC (Deia\vure)

Hartford I‘\mds Manugemant Compony, LLC (Deinware)
Hurtford Funds Managcment Group, Inc. (Di:,iaware)

Haitford Holdings, Inc. (Delaware)

Hartford Iosttmnce Company oflllinois Qllinois)

Hart'ford Insumnce Compuny ofthe Midwest (Indiana)
Haitford Insunmce Company oftbc Southcast (Connectlcut)
Haltford Insunmce, Ltd, (Becmudu} '

Hnrtford Integmted Teohnologlcs, Inc. (Conneoticut)
Hattford IntematlcnaiLife Reassurance Colpomtion (Connecticut)
Hartford Investment Management Compnny (Delnware)
Hartfard Life and Accident Insurance Company (Coonccticut)
Hartford Life and Anoutty Insurance Company (Conneotiout)
Hoitford Lifc lusurance Company (Conneciicut)

Hortl`ord Lifb, Inc. (Dela\vare) `

Hartfard Life Intematiooul Holding Company (Dela\varc)
Han_furd Life, Ltd. (Bermudu)

Hartford Life Private Flaeement, LLC (Dcla\vore)

Haitford Lioyd’s Coiporatlon @exas)

Haitford Lloyd’s lns\irrmce Compuny (Purtnersliip) (Texas)
Hactford Management, Ltd. (Bennuclu)

Hoitford ofTexas Gcneml Agency, Inc. (Texas)

Hartford Re.sidual Mari<et, L.L.C. (Conncelicut)

Hurtf`ord Securities Disiribution Cornpany, lnc, (Connecticui;)
Hai'tford Specla.lty Insucaocc Seivices of Texas, LLC (Texas)
Hattford Strateglc Investments,LLC (Deluware)

Hartford Undenvriters General Agency, Inc. (Texas)

Hattford Undcr\vri ters Insurancc Comp any (Conncctiout)
Hmtfozd-Cornprebensivc Employee Benet'rt Service Compony (Conneetlcut)
HDC R, LLC (Dela\vare)

Hexitage Holdings, Inc. (Connectlcnt)

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EXHIBIT 21.01 t

 

 

 

 

 

 

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Heritoge. Relnsurance Company, Ltd. (Bennudaj
HIMCO Distribution Services Company (Connectlcu¢)
HLALLC (Cnoneciicut)

HL Inveslment Advisora, LLC (Conuectlcut)

Hodzon Management Group, LLC (Dolawarc)
HRABrokemge Serviccs, Inc. (Connectiout)'

Lanide)c Cluss B, LLC (Delaware) .
Ne\angland Insurance Company (Cunnecllcut)

Ne\v Bogland Reinsnrance Coq)uration (Connecticut)
New Ocean Insu lance Company, Ltd. (`Bemiuda)
Nutmeg Insumcice Agency, Inc. (Connecticut)

Nutmeg Insutance Compuny (Curmecticut)

Pacliic Insumncc Company, Limitcd (Connecticut)
Plimcn, LLC (Dslaware)

Prop erty and Cnsunlty Insnrance Cnmpany ot`Hartfnrd (Indiana)
Revere R, LLC (Deiawum)

IWR R, LLC (Delaware)

Sentinei Insunmce Company, Ltd. (Connoolicnt)
Sunstone R, LLC (Delawam)

Symphony R, LLC (Delnwaro)

The Evergreen Group Inuorporated (New York)

Tlie Hartford Intemational Asset thagemcm Company limited (Ireiand]
Trumbull Flood Managerncnt, L.L.C. (Coimeetleut)
Trumbull Insunmce Complmy (Connecticnt)

T\vin City Pire Insurance Company (Indlana)

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EXHIBIT D

_EXHIBIT D

 

 

 

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aaa no other putnam had any interest except ms inflame /bL/GN(:;~ c,~:
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me undersigned warrants that them is no never insurance deemed that would apply en 5
time loss swept mpgva § \
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ultra sound machines wili be replaced W|th the Next Gen Logiq machines 1 at
$47\000 and 2 total for $91,000,00 Cadweii Machine like fur like for the Slerra
machine fur $15,113.00 probably going to buy a used blood pressure machine, 1
computer - Toshlba iaptop lnciuded in sierra hid, will need to estimate for another.
Sending LL referral for claim as total is near $250,000.00

received from insured inventory list 2 ' Acuson Cypress u|lrasound 2 - sonoslle
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UNITED STA°_I'ES DISTRICT GOURT
DISTRIC [j OF NEVADA

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14
VS. FlNDlNGS OF FACIT AND
15 CDNOLUSIONS OF LAW RE;
PAUL REVERE i_iFE |NSURANCE DEFENDANTS’ MOTiON FOR NEW
16 GOMPANY, a Niassachusetis cor oraiion; TRIAL, REMITTITUR OR REDUCT|ON
UNUMPROV|DENT OORPORAT ON OF PUNIT|VE DAMAGES
17 d/b/a UNUM LIFE iNSURANOE '
OMPANY OF AMER|CA and
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21
22 I. iNTRODUCTION
23 On June 25, 2008, the]ury in this matter returned punitive damage verdicts

24 against each oithe Defendante. Dooument Nos‘ 507, 508. Judgmentwas entered by
25 the Couri on Juiy 3, 2008. Document No. 512. On Juiy ’18_, ,2006, Defendante' filed a

4 Defendants.

 

26 motion for new trie|, remittitur or reduction of punitive damagee. Doeument No. 514,
27 On August§, 2008, Piaintlff filed his responsive pieadlng, Documeni No'. 515‘ Having
28 independently assessed the facts ofthe case and taking into account the Couri’s view

 

 

 

 

 

 

 

 

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of the credibility ot vvltnesses and the arguments ct the partiesl the Court now enters
the findings of facts and conclusions oflaw set forth beioW.
ii. _ i=inoiiics oF i=AoT l

Throughout the trial the Oourt i<ept careful notes of the testimony ot Witnesses
and the exhibits that the parties relied upon. in coming to these factual findings the
Court had the opportunity to assess the credibility or witnesses The Gourt observed
the Witnesses on direct and oi'oss~e><amlnatloh. Ainong other things, the Court had the

opportunity to assess witness demeanor and these findings are based in pari on these

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credibility determinations .

10 A. Dei'endants Were Engagec| in A Sch emc To Deny Glaims Of
Their Dlsaioleci Poiicyholclers

:: The N_inth Gircult has previously found that evidence exists that these

13 Defendants "had a conscious course of conduct firmly grounded in established
company policies that disregarded the rights of insureds." Hangaiter v. Provident Life

14 asdAccideni ina ce., 373 i=.ad ssa 1014 (s‘“ oii-. 2604). Tiis evidence described

:: here, more extensive then that described in Hangarter, and more extensive than that
admitted at the first trial of this matter, When the jury returned a punitive verdict of

:: $8,000,000 against UnumProvident and $2,000,000 against Revere, cleariy,
convincingly and overwhelmingly supports this factual conclusion

19 'i. Early in the 1990’s Detendant UnumProvideni realized that the claims made on

20 the own occupation insurance policies that lt sold were putting the company at

21 rlsi<. E><. 22. _

22 2. As a consequence the company underwent a major restructuring ot its claim

:: handling practices and philosophy. Provldent Went from a company that had a

claim payment philosophy to one that had a claims “management" philosophy

25 The results were profound. `

26 3. Among the tactics that Provident developed as pari ot its new claims

:: management approach Was the targeting of what it labeled "sub]eotive claims.”

-Z.

 

 

 

 

 

 

 

 

 

 

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1 These were claims based on mental or nervous disorders or cialmssuch as

2 tibromyaigia or chronic fatigue syndrome ("CFS").\ These claims which could not

3 be proven by hard medical evidence such ss an x~ray were thought to contain a

4 large potential for resolution based on the vulnerability of insureds to pressure

5 tactical Ex. 44, Ex. 'ii€ at 331. y

6 4. Another of the tactics that Prcvident implemented was its practice ct claim

7 objectlfioatlon, Through lts practice ct imposing objective evidence requirements

8 on its insureds,' when its policies contained no such standard, Provident sought

9 to defeattheir claims Thls standard was imposed even on cialms, |li<e ivierrici<’s,
10 where the company l<nsw there was no way to obtain objective evidence Ex.
11 174; Ex, 235; Ex. 326; Exl 327; E)<. 348.
12 5 A third tactic that Provident developed Weis its use of round table reviews. These
13 reviews which involved claim personnei, medical stati, vocational staft, legal
14 counse|, and management personnel focused on high indemnity ciaims. Ex. 99.
15 Whiie notes were occasionally made or what direction the claim should take after
16 a round table review, company policy was to destroy ali information regarding
17 who penicipeted in ine meetings Wnei wee discussed end the basis ret any
18 decision. Ex. 113 at 108; Ex. 325, Ex. 326, 327. Detendants’ also attempted to
19 cloak the round tables with the attorney~citent privilege tn order to further insulate
20 the actual claims decisions and basis therefore from review. Ex\ 99, Ex. 6,
21 6 A fourth tactic that was developed was the Defendants’ practice of shifting the
22 burden ct claims investigation to the insured Ex. 235; Ex. 325, 326, 327, ltwas
23 undisputed it is an insurers duty to conduct a reasonable investigation into ali
24 available relevant information prior tc denying a cialm. lt was undisputed that an
25 insurer must conduct a reasonable and tair evaluation ofthe evidence in a non~
26 adversarial fashion lt was undisputed that an insurer may not deny or terminate
27 a claim based on speculation ltwas undisputed that an insurer may not use
28 biased or predictable expertsh lt was undisputed that insurers have a duty to

. 3 _

 

 

 

 

 

 

 

 

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assist the insured with the ciaim. Ex. 218. Despite the existence or these
undisputed obligations that exist in the handling of first party ciaimS, the evidence
established that Defendants instructed their employees that lt was the insured’s
obligation to prove his claim. EX. 229. Employees were instructed to limit their
use or independent medicai examinations ("iiles"). /d. They Were told that ii\/iEs
were not to be used unless absolutely necessaryl ld.

The limitation on the use ot li\/iEs to gather information was part and parcel ct
another practice-thet ct overvaiuing the opinions ot in~house medical personnel
who never examined the insured over the opinions of either treating physicians
or iiviE doctorsl E)<. 235, As set out beiow, Derendants engaged in that conduct
in lvierrici<‘s case.

Slmiiariy, Detendants' in~house medical personnel engaged in cherry picking
records to find grounds for denying claims regardless of actual merit. EX. 235,
325. Documentary evidence established that in~house medical personnel "foous
upon any apparent inconsistencies in the medical records or other information
supplied by claimants, rather than attempt to derive a thorough understanding ot
the claimants medical conditicn.” Ex. 235.

The evidence established that Defendants had a practice or piecemeaiing
ciaimants’ medical conditions and did not consider the totality ct the medical
circumstances E)<. 235, Ex. 325. As discussed below, Defendante did that in
ivierrici<'s case. _

Detendants set targets and goals tor claim terminations to obtain financial gain
and without respect to claim merit. Ex. 325, Ex,-326, Ex. 327. Defendants
denied the existence of such targets and goals but the evidence at trial on this

pointwas overwhelming The testimonialand documentary evidence

a. Estabiished the existence of targets and goals to terminate oiaims.
Testimony'or Stepnen Rutiedge; Testimony ci Stephen Prater;
b. Estabiished the existence of net termination ratio targets on a corporate

»4_

 

 

 

 

 

 

 

 

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1 besis, E><. i, 5, 4a ea, iii, ita tie, 124, 135, rst, 144;i
2 c. Establlshed the existence of financial targets tor closing claims on a
s corporate basis a><. 49, 52, ee;
4 d. Establlshed thatthoee corporate goals were transmitted to claim handling
5 units which feltthe “reserve pressure," E)<\ 68, 268;
6 e. Establlehed that claim handling units Were requested to obtain certain
7 amounts in claim closures or recoveriesI E)<. 239, Ex. 242; g
8 f. Established thatwhen units were not able to make their goal on a weekly
9 basis that they were required to develop written action plans to bring their
10 closures ln line Wlth the goals thatwere set. EX. 232;2
11 g Establlshed that these targets and goals were communicated to claim
12 handling employees by such means as e-malls, and weekly Ststt
13
14
15 ’ Defendents olaimed, and there was evidence that not all terminations are the result of

improper denials That is undoubtedly true. individuals do get better and return to
work. Pollcyholders’ benefits expire, Poiicyholders age out so that benefits are no

16
longer payable. And, policyholders die, But, the evidence also established that the
17 Detendante set targets and goals beyond their actuarial expectations for claim closures
18 based on these factors, The evidence established that Defendants went looking for
ways and claims to close in order to meet their financial goals. l
19 2 The Worcester Resoiutlon Conslstency Strategy stated in parts
20 `
Each impairment Unlt will be evaluated weekly to determine if recovery
21 momentum is more or less concentrated than expected, based on
historical month~end recovery averages Units that are less concentrated
22 than expected will be charged with the task of developing s written,
23 detailed Act|on Plan designed to identify causes for the slower than
expected momentum and outline activities that will be initiated to bring
24 momentum back in line with expectationsl Tnese Aotion Plans will he
developed and reviewed with me within 24 hours of release of the Nlonth|y
25 Trends report This exercise le designed to achieve greater accountability
26 . at all management levels for consistent results week to week.
.Furthermore, additional emphasis will be provided at each ct my weekly
27 Staff i\/leetlngs, as well as at each impairment Head Staff l\/leeting, not
28 only around forecasting (and forecasting methodology) but also around

current trends and focus on improved momentum as necessary

usa

 

 

 

 

 

 

 

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1 l\/ieetlngs. EX. 26'l,3 EX. 260,4 EX. .'259,6 EX. 262, E>tr 232;a
2 h. Estabiished that to further pressure and give incentive to claims personnel
3 ` to find reasons to terminate ciairns, stock boards were setup in the claims
4 units and updated throughout the day so that claim personnel could see
5 how their activities were contributing to the UnumProvldent’s financial
6
7
8 3 "Beingness” ls the state in which you are ever present in whatever
activity you are engaged in; lE absorbed in what you are currently doing.
9 That is better than being recoveryless.. ..
10 bates done 10, 2002 ezzs Aiu
11 111Thle e~mail is entitled "YlPPEEEiZEEl|i," lt states in part
12 We had yet another excellent weei<,
13 Nc Reopens.... Month to date
14 wet
15 We are already at $608,000 in recoveries well ahead of schedule
We are still iagg|ng with projections so we need to add more to the
16 projection llet.
17 A|so, we don’t have any rlw success stories on the board yet.
18 Overall, we are crani<ing.,.. Thani< youiilll
19 Dated June 10,2202,9:47 AM(emphasis in original) "Recoveries" is a term
0 synonymous with “claim closures."
2 .
SAn e~maii which reflects the pressure being puton claim personnel to find claims to
21 close states:
32 Foli<s:
23 As luck would have it, we are running out oflt. _
We are projected to have 1,800,000.00 in recoveries this month but are
24 coming up short at 1,772,000.00... this includes the following that l would
25 like upda es on today:
~A"Hr
26 Are there any other claims that are possible recoveries this
27 week????
28 Dated duhe 25, 2002 8:55 AM (emphasis in original)

‘ See note 2 supra

 

 

 

 

 

 

 

 

 

 

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resultsl Ex. 232;7 and
l. Estabilshed thatihe corporate plan and scheme permeated the company
and was known to and endorsed at the highest levels when the head of
claims reported to the Board of Direotors. Ex. 28'i .“
i'i. 'Providentwas not the lone insurer facing financial difficulties as a result ofthe

poor product design, over marketing, and poor underwriting of its own occupation

 

” This document contained within Exhlblt 232 states:

\cooqoxot.t>u)t\>r-

UnumProvident stock boards will beerected on ali Customer Oare Center
floors The stock price will be updated periodically throughoutthe day by
an administrative assistant The stock boards will serve to raise
awareness of corporate performance levels and build a greater sense ct
pride among the stafffor Wcrcester‘s contributions to the oorporatlon’s
performance 4

Enoouraglng claim handling employees to evaluate their performance based on their
contribution to corporate stock price further supports the conclusion that Defendants

i-:-:a-\r_~
matos-so

14 were turning their claims handling operation into a profit center. This, despite the
undisputed evidence, that it would be inappropriate to use the claims operation in such
15 a manner. Ex. 218. Furtner, not only were employees encouraged to consider their
16 performance based on stock price, employees were actually made stock holders in the
oompany. Ex. 188 at i\/lERG O‘l'ii, 0166. The use.of stock boards in claim units
17 contributed to a corporate culture which elevated the financial interest cf the
1 Dsfendants and employees over that of claim making policyholders
8 . ‘

19 8 Thls i\/iarch 29, 2000 Board ot Director Meetlng l\/llnute states:

20 lvir. ivlohney discussed the customer care organizationl He introduced ivlr.
Arnoid who he noted would be taking over the management of the ~

t 31 Portiand Customer Care Center. He described metrics for measuring
_ performance improvements reflecting the implementation of the model

22 previously used in Chattanocga and Worcester, in the Porliand, Ohicago
and Giendaie customer centers were described ivir. Mohney noted that

23 they were seeing aggregate improvement and he was confident ofthe

24 ability to meetthe plan level previously proposed., although they were
somewhat behind plan at this polnt. iviembers of the Board questioned

25 the effect of the timing of improvements in the claims management
process on reserves. ivir, Grevlng stated that the objectives were

26 achievable and that the Company could incrementa|iy strengthen
Aithcugh this could have an effect on earning, he did not see any problem

27 l with respect to reserves in the next year. l\/lr. ivichney stated his belief

28 thatthe goals were achievable and that the same process consistently

applied should create similar results that would support the target

"7,

 

 

 

 

 

 

 

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1 poiicles. Other insurers faced similar problems i\/iany of them left the disability
2 insurance business Paui Revere was one cf the other large disability insurance
3 companies that had also heavily marketed the own occupation individual
4 disability products, it tco, had faced difficulties arising from these products and it
5 too had to revamp claim processes E)t. 44
6 12. in Aprii 1996 Provident and Paui Revere announced that they were going to
7 merge. The merger Was completed in the end ct i\/iarch ri997. in 1999,
8 Provldent Gompaniee, inc.' merged with‘Unum to form UnumProvldeht. in 1998,
` 9 Provident Oompanles, inc. and Revere entered into a Generai Services
10 Agreement, Ex. 146. Under that agreement Provident,` and later
'tl UnumProvident, took over ali responsibility for handling Revere claims ld
12 13. Before the Generai Services Agreement, and before the mergerwas even
13 oompieted,' Provident was influencing Revere’e claim processes See, e.g., E)<.
14 114, Ex. 120, E)<. 122; E)c, 164. By Juiy1996 transition teams were formed to,
15 among other things, identity "Best Practices" that the combined entitles would
16 foilow. Ex. 104. in Octcber, 1996 Provident undertook to train all ct Revere’s
17 field investigators in "Eiest Practices.” E)t. 114. These "Best Practices" included
18 the claim objectitioatio_n process Provident had adopted as one of its techniques
19 The round table process Was broughttc Revere in February, 1997, and
~20 implemented on a daily basis before the merger was completed E)<. 268, E)<.
21 270, E)<. 120, E><. 122. v
22 a. cercndants’ scheme was angegeci in re segment Their
a Bt‘i'§‘iid§§§i‘t§it§t‘°'§n€irt§§‘;i?t°'at"‘°'°' ‘“S“”~"’“'°` A"“
24 Not only did the evidence at trial establish the existence ot a corporate scheme
25 to augment profits without regard to the rights of their disabled lnsureds, it established
26 that, in tact, Defendants profited immenseiyfrom their misconduct The evidence
27 related to this issue extends from 1994 to the present and is briefly recapped here,'
28 14. An in house analysis authored by Provldent‘s head ot risk management in 1994
_ g -

 

 

 

 

 

 

 

 

 

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1 concluded that the ccrnpany'e ncn~cancellabie own occupation policies
2 substantially impaired its financial capabilitiesg
3 i5. in response to the financial arises Provicient redesigned its claim process lt
4 recognized that such redesign carried Wlth it “tremendous ieverage.” Ex. 33.
5 'iEi. Among the areas recognized as creating large financial opportunities Were
6 psychiatric claims and field investigators Ex. 44. As reported in thatdocument ’
7 Revere was using its field investigators to close claims Derendants were
8 encouraged that by changing their claim handling practices they could achieve
9 substantial savings EX. 45. Ohronic fatigue claims Wei'e sent to the psychiatric
10 claims unit tor intense handling E)<. 75.
‘ 11 'l7. As the Company completed its analysls, it recognized that changing its claim
12 practices, could have a large payout, initial estimates suggested that the
13 company could save between $30 and $60 million annuaiiy. Ex. 46. Adjusters
14 were directed to make top ten lists or claims where "intensive effort will lead to
15 successful resolution of the oialm." Ex. b“i.
16 'IB. itscon became obvious thatthe Gornpany had Wlldly underestimated the
17 iinancial gain lt could achieve by changing from a claim payment to a claim
18 management mode _ ax. 54, Ex. ss, ax‘ ee, E><. rs, Ex. 77, a><. sc,i° E)<. 37, E><.
19
20 9 Exh|bit 22:
21 The disability operation continues to generate large statutory losses since
22 no special reserve was recorded on the statutory side jeopardizing the
company‘s ratings and financial flexibllity. Further, the existence of the
23 special reserve on the block of business written prior to 1994 creates a
huge drag on the company‘s reported ROE. Over $300 million of capital
24 stands behind the special reserve block of business and essentially all
25 earnings other than the return on capital and surplus have been zerced
out.
26 1° in a Janusry rees name aaiph twomey wrote to rem Heys:
27
Overali, we are both pleased and encouraged with the results of the claim
28 management activities during the quarter. The $114`8 million of net
terminations (termlnatlons minus reopens) represents a record level and
t 9 -

 

 

 

 

 

 

 

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1 ca s><. rca a><. rc¢t, a><. rca ax. rcs,`e><. rrr," a><. rrs, a><. rtc12
2 19. The Gornpany began setting tinanciai goals for terminations that were Weil above
3 what lt had traditionally been able to achieve. E.g., Ex. 52 (settlng forth second
4 quarter 1995 goal for terminations of $132 million doilars,_ and reporting, “\i\/e
5 have a good shot at making goal Wh|ch is 10% above last year.")
6 20. Ultlmateiy Provldent Companies, lnc. wentt`rom a company with little financial
7 flexibility to a company with over $8 billion dollars in total stockholder equity, Ex,
8 342 at 29.
9 2i . Revere in turn accumulated a surplus or over $'l billion in 2007 after declaring
10 stock and cash dividends ct approximately$i blillon. Ex. 341 at 96, iiB.
11 22. Other evidence suggests that much of this accumulation in value came at the
12 expense of Dei~`endante’ policyholders
_13 a. Under the limited claim reassessment process required bythe lvlultistate
14 ll/lari<et Conduct E><arnlnatlon settlement process, Detendants were
15 required to make claim payments and post additional reserves ct
16 approximately $676,2 million dollars. E)c 612.
17 b These additional reserves and claim payments represented money owed
18 to attraction of the claimants whose claims had been denied between
19 'l997 and 2005 and who elected to participate in the claim reassessment
20 process required by the l\/luitistate settlement Ex. 612. Out of over
21 290,903 claimants that the Defendants mailed notices to, only 78,422 l
22 opted in. Of that number only 23,190 completed the complex forms `
23 l
24
25 is 28 % ahead ct the previous four quarter average. ivloreover, the fourth
quarter represents the 3“‘ consecutive quarter of $i 00 million or more in
26 net terminations
27 11 Reportlng a reduction ot reserves cf $'121 million over the prior yeer. t
28 12 Reporting an annual net resolution ratio of 98%, 14% more than what had been
earlier set as a goal. Ex. 'i 16.
a 10 .

 

 

 

 

 

 

 

 

 

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l necessary to have their claims reassessed.‘i‘ Of that number, the
2 berendants reversed pcsrircn'cn 41.7% crrrre crarms. _
3 c, While Defendants would suggestthat those who did not participate in the
4 reassessmentwere satisfied with the initial claim handilng, little credible
5 evidence supports such a conclusion lt is equally or‘rnor‘e likely that
6 some lndlvlduais»ciid not participate because 'i) they did not receive
7 notice; 2) they died; 3) their trust in the company had been so abused
8 they chose not to participate; 4) that the forms were so complex or
9 required the provision of information the insured did not have 'so that they
10 were unable to complete them; 5) they did not have the basis to know
11 whether their claim had been improperly denied or terminated, and/or 6)
12 they did not wanttc give up legal rights they might have as required it they
13 obtained benefits under the reassessment process
14 cl Further supporting the conclusion that many of the non~reassessed claims
15 would have resulted in additional payments (and not reassessed remain
16 as improperly obtained financial gain) is the fact that approximately 42%
17 of the r'easeessed claims resulted in additional payment Ex. 612. v
18 28. Other evidence also suggests that the'amount of newly made payments end
19 posted reserves under'states the Defendants financial gain by a substantial
20 degree Exhiblt 95 established that during the first quarter of1996 as part of its
21 ' `
22 ii For exampie, the form asks the participating claimant to provide detailed information
aboutthe policy number, claim number, a detailed explanation about why the insured
23 believed their claim had been mrshandrea re drrrrcurr task ar best in the absence cr
24 detailed knowledge concerning claim handling practices, standards, and these
Defendants perversion of the same, lengthy detailed employment history, lengthy
25 detailed medical form, other benefit information (wlthout revealing_that if the insured
had sought unemployment benefits the company mighttal<e the position that they were
~ 26 not disabled because their occupation was unemployed), Ex. 174 at 186, Ex, 347, See,
e.g., Norcie v. Paul Revere /_ife lns, Co,, supra; accord Burriesc/ v. Paul Rer/ere L/fe
27 /ns. Oo., 255 A.Zd 993, 679 N.Y.S.Zd 778 (Sup.Gt.App.Dlv. 1998) (defendant engaged
28 in bad faith by classifying lnsured‘s occupation as unemployed while injured while out of
work and on unemployment). '
,11_

 

 

 

 

 

 

 

 

 

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1 scheme Defendants were reporting quarterly terminations or $447.2 million "up
2 ' ic.'l million ('i ’1.4%) from the previous tour quarter average.” it goes on to note
3' that these quarterly results "demonstrate[s] that the investments in claim
4 effectiveness over the last eighteen months are beginning to pay substantial
5 dividehde.” /d. Ex_hibit 52 showed Detendante with a target of $132 million in
6 quarterly claim terminatione. E><hlbits 239, 242, 259 demonstrate that the
7 Defendahte Were eeel<ing millions or dollars in claim terminations from individual
8 claim units month after month Such le reflected as well in the monthly unit
9 reports introduced into evidence, Which demonstrate the pressure to achieve
10 high net termination ratlos, see, e,g., Ex, 137, 'i4i, 144, 331,*" 833,"" and
11 millions cf dollars of terminations through the roundtable process, E)<. 268, Ex.
12 270. ,
13 24, Baeed on the credible testimony abouttargets and goais¥ documents, end the
14 duration of Detendants’ misconduct there is every reason to conclude that
15 'Detendants gained Weii in excess of a billion dollars as a result ot their claims
`16 handling misconduct
17
18 14 Reporting Worcester‘s September 1999 Net Resoiution Ratio in Reserves for

individual disability claims of 108.6% and reporting it as an improvement over Juiy and
August of that year. in the same document the Wcrcester claims operation reports an
LTD net resolution ratio in reserves ct 120.6%.

N!~>s-L
l-‘O'~D

’5 Reporting oh Worcester results and characterizing them as “unfortunate" because
they were lower than average The document further addresses how Worcester will

remedy such "untortunate" results:

§§

We are committed to a continued focus 'cn activity levelsl action plans and
roundtable reviews, which will improve our claim management
effectiveness We will be using "mln~rouncitable" beginning in August as a
form oifolicw~up on claims previously presented in roundtable, butwhich
remain outstandingl
|n light of Exhlbit 333, 268, and 270, there can be little question, that the purpose of the

roundtabies continued to be a means to find a wayte close ciaims, just as from their
lnception. E`><. 691 85, 99, 135. No other interpretation ot the Defendants' purpose or goal

for the process is credible

resources
oe<to\u:.r:~

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1 C. The Ciaims Handling With Respect to lllierricit’s Olaim And The
2 Harm He Suff'ered
3 i\lot only did Pialntiff establish the existence of a corporate scheme to augment
4 profits atthe expense of disabled policyholders i\/|erric|< established that his claim Wae
5 mishandled in a manner consistent with that scheme. `
6 25. ivlerrlcl< purchased a non»canceiiable, guaranteed renewable, own occupation,
>7 disability insurance policy from Detendant Paul Revere L|fe insurance Compeny
in t989.
8 26. 'U nder the terms of the policy Merricl< Was entitled to behef|ts, |f, due to illness or
1: 4 injury. he was unable to perform the material and substantial duties of his
11 occupation The policy does not require the existence cf a particular injury or
12 illness craven any diagnosis if disabled from his occupation under the policy
13 l\/ierr|ci< was entitled to benefits of $'12,000 per month for as long as his disability
14 lasted cr until age 65, whichever came nrst. i\lierricl<’s policy Was one ct the
"Cad|llac" policies that disability insurers had sold in the 'l€iBO's and 'lQSO’s to
_:: doctors lawyers, and other professionals
27. At the time Merricl< purchased the policy he was a successful businessman
17 ivierrlcl< had worked his way through college graduating cum laude from the
:: Universlty ct Tulsa. After graduating from college he enrolled in the Stantord
20 MBA program. During the time he was in that program he worked for Generai
i\/iii|s. Atter graduating from the Stam"ord program i\/ierrici< went to work ror
21 Generai Foods, ultimately becoming a vice~presldent ct marketing and saies.
:: Atter working for Generei Foods i\/ierrlci< became the GEO or l\/luelier Pasta, the
largest paste manufacturer in the United States. l-ie successfully led a
24 management buy out of the company when First Bcston purchased it rcr $425
:: million.
28. lv'lerrick's experience with the ivlueiier Pasta buy~cut led him to become a partner
27 in a venture capital iirm. The firmspecia|ized in consumer products Among the
28 more successful investments the firm made that i\/ierrici< was responsible for was
a 13 s

 

 

 

 

 

 

 

 

 

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1 Boston Beer Cornpany, the producer of Sam Adams beer.
2 29. Atali times relevant to this iawsuit, and the claims asserted herein. ivierriok’s
3 occupation was that of a venture capitalist. Such an occupation required long
4 hours ofwori<, substantial work»reiated travei, and the ability to read,
5 comprehend avaiuate, and expialn, complex financial documents rapidiy. As a
6 venture oapitaiist i\/ierriok had multiple responsibilities These included raising
7 funds to manage, evaluating potential business ventures for investment
8 p'urposes, lnvesting and monitoring investments, and working with the companies
9 thatthe venture capital firm was invested on both an operational and strategic
10 levels to position them to go pubiio. lt is through the process cf public offerings
11 that much of the profit in venture capital is attained
12 30. in 1991 i\/ierrick began suffering from a chronic low grade illness lin/1993 lt had `
13 begun to substantially impact his performance in his venture capital firm and ne '
14 began negotiating his exitfrom the business because of his inability to periorm.
15 in the end of Juiy, i994, i\/ierrick wrote to Revere to put lt on notice of claim
16 advising lt that he was still trying to obtain a definitive diagnosis
17 3'i. Revere received Merrlok’s letter on August 2, 1994. Upon receiving Merrlok’s
‘ 18 notice Revere was required to post a reserve, known as an incurred but not
19 reported reserve, lBNR.
20 82. Given that lvierrick’s benefits under his policy Were $12,000 per month, that
21 l Merrick was flity~one years old when he provided notice of oiaim, and that if
22 totally disabled he Would be entitled to benefits until age 65, the iBNR reserve
23 was substantial.
24 33. Between duly cf i994 and February, 1995 ivierrlck continued to seeks definitive
25 diagnosis and treatmentfor his illness and in Deoember 4994, after undergoing
26 physicai, psychiatric and neuropsychologicai testing at the lviayo Ciinic he was
27 diagnosed with Chrcnic Fatigue Syndrome.
28 34. Merricl< then filed all claim forms required ot him and Revere, recognizing that
d 14 -

 

 

 

 

 

 

 

 

 

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1 lVierrlci< could no longer perform the material and substantial duties of his

2 occupation as a venture ci:-zpltalistr put him on claim Witl'\out a reservation of

3 rights

4 35. Before deciding to put ivierrloi< on ciaim, Revere first considered whether it could

5 reclassify i\/ierrlc|<’s occupation as that of an unemployed personr E><. 174 et

6 188, if so, ltwouid have denied his claim on the basis that he was capable

7 performing the material and substantial duties of an unemployed pereon, e.g,,

8 activities of daily living.18 Two of Defendants’ wltneeses, Ms. Bostek and l\/ir.

9 DiLisic attempted to justify the unemployed~es-an~occupatlon analysls, but the
10 court need ncr credit their explanations us coates admitted that rr rae/ere hac
11 been able to assert that Nlerrlcl<, despite his years of employment as a venture
12 capitalist, was unemployed attire time disability arose, lt would have denied the
13 cialm. lvlr. DiLlslo, attempted to justify the unemployed as an occupation tactic
14 as a means to extend benefitsl l~lls explanation was so qualified and convoluted
15 it was not credible v
16 36. Durlng the time that lvlerricl<was seeking to obtain a definitive diagnosis and
17 treatment, Defendant Revere repeatedly sought information on whether i\/lerricl<
18 intended to file a formal claim for benefits Whlie Defendants sought to
19 characterize this evidence as attempts to be cf service to l\/ierricl<, another
20 interpretation is more likely e if Merrick told Revere that he Was not filing a claim,
21 the lBl\lR could be released, and money that Revere had to reserve to pay
22 Merricl<’s claim could be removed from its liabilities and added to its assets
23 37. iv|errlol< remained on cialm. internal evaluations of his claim by Revere’s medical
24 personnel concurred in his treating physicians conclusions that l\/ierric|< was
25 ` _

25 16 One court has described these Defendants' conduct in classifying lndi\liduals’
occupations as unemployed as “’pure poppycock' utterly bereft either cf textual support
27 in the language of the insurance contract cr the gloss piece on such language by any
Arlzona [the relevant luriedlction] case.” Norcla v. Equlteble Llfe Assuranoe Soclety or
28 the united states ec F.scpp.zd 4047, 1053 (D.Arlzr 2000).
s 15 _

 

 

 

 

 

 

 

 

 

 

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1 substantially impaired

2 38. On August 2, 1995, through its field investigator Michae| Kunkin, Revere offered

3 ivlerrlck four months of benefits if he Wouid give up his cla|m. if he had accepted

, 4 the errer nerriei<vieuid have relinquished ever sic miiiien in benefits At the

5 conclusion of the visit, Kunl<lri left ivlerrlck a check for $12,000 representing one

6 month of benefits with an endorsement on the back constituting an agreement

7 that some kind cf settlement had been reached regarding all liability under the

s eieim. (E><. 174, et 222.) ‘

9 39, Defenclants attempted to characterize this settlement offer as a "return to work
10 benefit." No credible evidence suggests this was the case. Revere had not
11 established that Merrlol< could go back to work as a venture ceplta|lst. lt had not
12 identified any venture cepitalist position that lvlerrick could work in with reduced
13 stress and on a part~tlme basis as recommended by his treating physicians
14 Defendants further admitted that they had not offered lvlerrick any rehabilitation
15 assistance cr services. y
16 40. At the meeting where the field investigator offered the claim settlementl he left
17 ivieiriei< with the impreeeien that ir ne die net rare ii, the company might sue him
18 for the benefits it had previously pald. `
19 41. Further supporting the view that Defendants were engaged in a low~ba||
20 settlement attempt is found in corporate documents Accordlng tc the
21 Provldenthaul Revere Translticn Pian, E)r. 113, field settlements of greater than
22 three months of benefits were to be made only in return for a signed ralease,
23 meaning a completely final payment.i7
24
25 17 ex. 113 ai scs:
26 [W]e recommend allowing Fieid C|aim Representatives up tc six months in
27 benefits,tc be used at their discretion for settlementsl in general,

however, settlements greeterthan three months would be expected to be
28 in exchange of a signed release otherwise it must be questioned
-15_

 

 

 

 

 

 

 

 

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1 42. The Court concludesl as did Merrici<, that Revere, in fact, was attempting to
2 obtain a settlement based on a low bail offer and a threat to engage in litigation.
3 43. Aftor Merricl< turned down Revere’s settlement offer lt required that he attend-a
4 necroisgie iivia es pen eriis sisime` investigation rnst'iivre tsoi< press en ‘
5 i\iovember 20, 1995. Thatneuroiogist, Dr. Donaidson also concluded that
6 ii/ierriol< was substantially impaired, though he disagreed with the diagnosis from
7 ivierrlok’s treating physicians that ivierrloi< suffered from chronic Fatigue'
8 Syndrcme. Whlle Revere claimed there were some questions raised as to 'Dr.
9 Donaidson's opinion regarding the extent of Ii/ierriclt’s impairmentJ Revere never
10 sought to clarify its concerns
11 44. On danuary 29, 1996, Paui Revere advised Nierrici< that any further payments
12 would be made pursuanttc a reservation of rights based on Dr. Donaldeon’s
13 conclusions that there was no objective evidence supporting Merr|ci<’s claim that
14 he was disabled by Chronic Fatigue Syndrcme or Lyme Dlsease. E)<` 174 at
415 279. `
16 45. While ii/ierrici< had previously had a large income and benefits from his
17 occupation as a venture oapltailst, such income did not insulate him from
18 rinensiei stress ivisneytnst ned been saved rsr other purposes wes used ts
19 meet regular expenses in addition to his immediate family, ivlerrici< was
20 providing support for his aged father, who was essentially indigent and his adult
21 daughter who had terminal breast oancer. ivlerricl<, along with others, was also
22 providing support to Young il/iee Jeon, who would eventually become his wife
23 after his divoi‘oe. At the tlrne, she was attending va seminary.“‘
24
25 whether or not this advanced payment makes sense in terms of being a
completely final payment. Advanoe payments for the sake of closure cnly,
25 with a significant expectation cf reopening. would not be proper.
27 m Defehdants assert i\/ierriol< was engaged in a orossscountry affalrwith Young i\/iee`
28 ivierrlol< prior to his divorce. That assertion was unsupported by any evidence et the
second triel. l\/ierriok testified without dispute that he and his current wife only became
, 17 t

 

 

 

 

 

 

 

 

 

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1 46. As a result of his illness and consequent loss of lnoome, Merrick was attempting
2 to scale back his expenses His` famliy`began the process of selling his house in
3 Connecticut. _
4 471 By paying under reservation, Revere substantially impacted lvierrlck’s peace of
5 mind because he no longer felt assured of his monthly finances Slm|larly, the
6 threat of litigation substantially eroded the “peaoe of mind” that disability insurers
7 know they are selling when they market their products.‘9
8 48. in Novernber 1996, all the medical evidence in the file supported the fact that
9 i\/lei'l'lckwas disabled from his own occupation Detendant's ln~ncuse evaluators
10 concurred with ivlerrloi<'s doctors on the issue of impairmentJ though they
11 disagreed on diagnosis Derendants’ ln~house evaluators knew that the lack ct
12 objective test results was not detlnltlvewitn respect tc whether l\/lerrlck suffered
13 from Ghronlc Fat|gue Syndrome, They knew that neuropsychclcglcal testing
14 could not be used to diagnose the discrder. E><. 174 at 343. See also, E><. 348.1°
15 49, in l\lovember 1996, after the Provldent "Best Praotlces" training, Revere"s
16
17 intimate after he was divorced a divorce initiated by his ex~wife.
‘18 ” See, e.g,, Egan v. Mutua/ of Omaha Llr”e /ne. Oo., 598 P.2d 452, 456, modified on
rehearing 622 P.Zd 'i4‘1 (Cal. 1979).
19 2° Confirmlng the information in thef|le that neuropsychclogieal testing could not be
20 relied upon as a basis to deny the clalm, this l\lovernber 1997 internal memo authored
21 by Detendants states in relevant part: ~
22 On Novernt)er 7, 1997 the following people met to discuss our handling
the FiViS and CFS claims
23
Our goal was to discuss these two illnesses, evaluate where we ere in handling
24 them and develop and action plan to move forward.
25 basically we have acknowledged the credibility of these diagnoses based
26 on considerable research by high profile organizations We realize that
there are no clinical tests tc objeotlty the diagnosis of OFS and FlvlS yet
z'; there are board certified physicians certifying to partial and total dleabiilty.
We know there is no cure, no true treatments and nc objective way to
23 refute the diagnosis

..18..

 

 

 

 

 

 

 

 

 

 

 

 

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1 investigator, Kunkin, returned to l\/ierrick’s house in Ocnneotiout. ivierrlcl<'s son
2 had recently died, a fact the company Was aware ot, EX. ’i74 at 486~488.
3 '50. Despite the uniformity of opinion that lvierrlclcwas in fact dlsabled, in November l
4 1996, after receiving Provldent’s training on claim objectlflcation, Kunicin, as
5 directed. represented to Merrlck that all ct Revere's medical reviewers had
6 determined that he Was not disabled Ex, 174 at 512. Kuni<ln offered Merrio|<
7 two months of benefits in exchange for lvierrlck’s agreement not to pursue further
8 benefits E><. 'i74 at 508, 5'iO. Kunitin told Merrickthat if he did not accept this
9 offer the company might sue him for benefits |t had previously pald. When
10 Merriok rejected this offer, Defendants terminated his clalm.
11 51. Along with the financial stress, the death of ivierrick’s son made him particularly
12 vulnerable to harm caused by Defendants when they terminated his benefits lt
13 would be hard to conceive cf a more vulnerable individual than a disabled
14 parentl who had recently suffered the death of a chlid.
15 52. At the time of the second field Visit by Kunkln in November, 2006, Meri'ick's claim
16 was targeted for closure on a rush besis. Ex. 174 at 508. Defendants had no
17 legitimate basis to terminate lvlerrlcl<’s claim in November, 1996. Glcsing his
18 claim at that point served only Defendants’ financial interest in removing a
19 substantial liability from their books as they approached the year end, th us
20 making it more likely that they would meet their net termination ratio and financial
21 goals tor that quarter, b .
22 53. in November 1996 Revere closed i\/ierrlck’s claim supporting its denial on the
23 basis cf a lack of objective evidenoe, though such was not a requirement of the
24 policy and despite its knowledge that GFS could not be diagnosed or measured
25 through 3th testing ax. 174 at 343, 525, a>t. sits
26 54. After Revere terminated |\/ierrlck‘s benefits, he attempted on repeated occasions
27 to get his claim paid.
28 55. Merrlck specifically asked Defendante what testing they would consider sufficient
_19_

 

 

 

 

 

 

 

 

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1 to support the ciaim. Ex. 174 at 542~543. Defendants refused tc provide ivierriok

2 With that information ld. They concealed from ivierrick What they in fact

3 knew-that there was no objective testing to measure the impairment or

4 establish the diagnosis

5 56, Each time l\/ierricl< submitted new information in support of his claim Defendants

6 rejected lt. On each occasion they asserted that the absence of objective

7 medical evidence precluded claim payment E><. t 74 at 539, 61 'i.

8 57. Defendants’ knew that lvlerrlck’s illness could not be established by objective

9 evidence, but repeatedly insisted he produce such evidence, when their contract
10 did not permit them to do so. E><. 174 at 51 8, 525, 539, 536, dii.
11 58. Defendants, shifted the burden of investigation to their insurcd, refusing to assist
12 him in getting his claim paid, despite their obligation to do so.
13 59. lvlerrlck persisted in attempting to get his claim paid without litigation until Aprll
14 2000.
15 60. At'the first trial the jury determined that each Defendant had breached the
16 insurance contract This finding was affirmed on appeal.
17 t 61. At the first trial thejury determined that each Defendant had not had a
18 reasonable basis to terminate ivierrlok’s benefits or had otherwise acted
19 ` unreasonably in connection with the ciaim, This finding was affirmed on appeal.
20 62. At the first trial the jury determined that @_tj Defendant’s unreasonable claims
21 handling behavior had been engaged in knowingly or recklessly This finding was
22 affirmed on appeai. _
23 63. At the first trial thejury determined that each Deiendant had acted in bad faith. .
24 This finding was affirmed on appeai.
25 64. At the first trial the jury determined that each Defendant had acted with
26 oppressicn, fraud or maiioe. This finding was affirmed on appeai‘
27 65. Atthe first trial the jury determined that _l\/lerrici< suffered emotional distress as a
28 result of Defendants’ bad faith conduct and compensated him in the amount cf

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1 $500,000 for which Defendants were jointly and severally iiabie. f
2 ee. Ar the first trier the jury determined that ostendsnts brean or contract hac i
3 deprived lvierrici< cf $i ,147,355 in contract benefits for which Defendants were l 4 j
4 jointly and severally iiabie. `
_ 5 67. After the first trial Dei'endants started paying Merriok contract benefits, again l
6 subject to a reservation of rights l §
7 68. As a measure of damage for loss of use and delayfor accrued damages
k 8 Defendants paid prejudgment interest of $550,'|73.69.
9 69. Defendants paid recoverable costs or $19,214.54.
10 70. Defendants paid $17“| ,646.66 in postjudgment interest on the compensatory
11 damages _
12 7'i .. Under the post~triai reservation of rights Defendants paid Merricl< an additional
13 $486,799 in contract benefits.
14 72. The total actual and potential loss to I\/ler'riol< as a resuit.of Defendants’ bad faith
15 conduct, including liability for breach cf contract in terms of money paid by
16 Defendants was $2,875,186.89. When the firstjudgment is brought current to
17 the date of verdict in the second triai, lt has a present value of $2,445,952.71.
18 Gomblned with the poet»iirst~tr|ai benefits, the total harm actual and expected to
19 ivlerrioi< as of the date of the second verdict was $2,932,751.71.
20 D. iVierriclt’s Gialm Was Handled in Aoeordance thh Defendants’
' Cor‘porate Scheme
21 That Defendants handled i\/ierrici<’s claim in accordance-with their corporate
j 22 scheme ls established throughoutthe evidence inciudlng:
:: 73. Attempting to classify Merrlc|<‘s occupation as "unemp|cyed" in an effort to deny
him benefits EX. 174 at 186; EX. 347,
25 74. Assert|ng a reservation of rights on claim payments without a basis for doing so.
26 E)c. 'l74 at279, Ex. 325 at 19, EX, 326 at 'l2; Ex, 327 at 6.
:: 75. Twice attempting to force Nlerrlci< into accepting a low bail offer cfsettiement in
521 _

 

 

 

 

 

 

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1 turn for a complete release of his claim or face the possibility of being sued for

2 benefits previously paid. E)<. 174 at 279,r Ex. 325 at 12, 19; E><. 326 at12, E><.

3 327 at 5, '

4 76, Disregarding or oherry~picl<ing inconsistencies in medical records to create a

5 pretext for claim termination7 despite the uniformity of opinion from treating

6 physicians and evaluatci's that i\/iei'rlci< Was substantially impaired EX. 174 at

7 70, 153, 177; E><. 235 at10~11; Ex. 327 at 2.

8 77. Not considering i\/ierricl<’s condition or medical records as a whole, as reflected in

9 Defendants’ selective reliance on portions of the i\/iayo Olinlc‘s evaluation cf
10 Merrloi< while ignoring the overall conclusion which was that iv|errlcl< in fact had
11 Chronlc~l=atlgue Syndrcme; _
12 78. i\/lisrepresenting to Merric|tthat Defendants’ own in~house evaluators had
13 determined that he was not substantially impairedl when, in fact, they concluded
14 ` he Was. E)c 174 at 518, 519, 522~524, 525; EX. 326 at12, Ex. 327 at 3.
15 ' 79. Teiiing Merrici< that his claim had to be denied because itwes not supported by
16 objective evidence when there was no such requirement for claim payment in the
17 policy and Defendants knew that objective testing was not likely to show
18 impairment EX. 174 at 343, 525, 536, 539, 611, E)<. 235 at 8; E)<. 326 at 9; Ex.
19 _ 327 at 8; Ex. 348.
20 ao. Teiiing i\llerricl< that he was not disabled under the policy from his own
21 occupation despite not having conducted any sort of investigation to establish
22 that the occupation of venture capitaiist could be performed on a part time basis
23 in a low stress environment
24 81. Glosing l\/ierrici<’s claim on a rushbasis in order to meet quarter end financial
25 goals, though Defendants had no evidence within their possession to support
26 such a claims decision on the merits. Ex. 174 at 508; E)<. 326 at11; E)<. 327 at 3.
27 82. Shifting the burden of claim investigation to lVierrici< to come up with evidence
28 satisfactory to Defendants and then refusing to provide him any assistance with

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1 respect to carrying that improperly imposed evidentiary burden. E)<, 174 at 519,
2 E><. 235 at 8, EX. 326 at 'l'l; E>C. 327 atB.
3 83. Requirlng i\/ierrici< to tile suit, incur attorney fees and costs, and to go through
4 litigation in order to obtain the benefits to which he was entitled Ex. 326 at 12; '
5 l Ex. 327 at 5. _ '
6 84. Further, ltis not unreasonable to ccnclude.that i\/ierriok’s claim was subjected to a
7 round table which was not documented. Merrlci<’s claim involved a high
8 indemnity own occupation poiioy. lvierric|<’s claim involved a "subjecilve.
9 dlsabillty." Whlle i\/lerrlcl<'s claim Was not new When the round tables Were
10 brought tc.Revere, itwas closed and he was seeking to have it reopened by
11 providing additional information. Under Defendants’ “Best Praotlces b l
v 12 Reccmmendations" which were implemented with the Provldent/Revere merger
13 there is every reason to believe that i\/ierriok’s claim was "roundtabled." E)<. 113
14 at 262. .
15 All of the facts described above Wari‘ant this Court finding that Defendants’

16 conduct requires an award ct substantial punitive damages to accomplish the dual
17 purposes cf punishment and deterrence Other facts described below supportthis

18 finding fur=ther'.

19 E. Dei'endants Are Unrspentant: With Respeot To The Corrciuctv
They Directed At liilerrick Or Wlth Respect Tc Their Corporate
20 theme
21 in the prior trial otthe case the jury found that each Deiendant had breached the

22 insurance contract in load taith, The lury found that each Defendant had acted with

23 oppresslcn, fraud or mailce. These findings were affirmed on appeal. Despite these
24 jury determinations and judicial findings attire retrial Detendants:

25 ss. reserth inst they had done nothing wrong in the handling ct rvrerrrcr<s crarm;
26 86. Repeatedly insinuated that Merrlci< Was not disabled

27 87. Assertsd that the company(s) had never done anything wrong in handling any .
28 cia_lms.

.. 23 ..

 

 

 

 

 

 

 

 

 

 

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a. Defendants claimed that insurance regulators had found that they had not
engaged in any form ct misconduct towards any insured. This position
was demonstrably wrong and Defendants knew lt. The evidence
established that investigators found widespread misconduct in
Defendants’ claims handling and that Detendants chose to enter into
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v of the very misconduct thatthey denied. The evidence also established
that they entered into these settlements to avoid additional financial and
regmaknyrepabusdcnsncnrmendnboonduct Ex.235;286;327

b. Presented expert testimony concerning the regulatory process with
respect to these Defendants Wh'rch was simply not credible for several
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hmmmmedmemmmwmpmmmsBammauom%eDmmmm®.Mn
Poolman admitted that he did not participate in the prooess, did not know
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admitted that he had nci even read most ct the documents Defendants
provided to hlm, and was seemingly unaware ct other regulatory actions
taken against Defendants by both the State cf Callfornla and the State of
Georgia. Even lVlr. Pooiman's testimony concerning the lyluitletate
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retained to provide, lacked credibility

c. Put on testimony cf a Wltness, Kristine Bcstel<, th testified as to the
good practices at the company, butwho also admitted to being less than
forthcoming in prior testimony, and who was less than forthcoming in her
own testimony at trial as revealed by her denial of knowledge and
impeachment over the Cciumbo award - an award Defendants gave to
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dams.

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1 d. Failed to present the testimony of a single current claims handling or

2 management level employee who could testify as to current practices at

3 _ the company or could testify that any of the types of bad faith conduct

4 evidenced in i\/ierrlcl<’s claim file and in the institutional documents had

5 changed

6 e. i\/loreover any suggestion that things are different at the company now

7 was belied by evidence that certain regulatory settlements precluded

8 Defendants from being cited for regulatory violations during the claim

9 reassessment process, EX. 346, and the fact that the high level
10 management ot Defendants, who l<new and participated in the institutional
11 bad faith practices, remain in place. For example Thomas Waijen, who
12 was with Provldent at the inception of Defendants’ bad faith conduct and
13 who was the heed cf its finance investment and legal organization at the
14 time cr ins merger with severe e><. rec ar russo 0047~43, was vice
15 Ghalrman of E)<ecutive lvlanagement after the merger with Revere, ld, at
16 MERG 0096, remains as the OEO ct Unum Group. E)c. 342 a120, See
17 also EX. 286, 281, 188 at iviERG 0089.
18 F Detendants Refuse To Accept Responsibiiity For Their
s “C’l§t§;‘%i“rtrtiit§£tt%‘§§£ti?r;'i`r“§tsii‘§tt§il“°* “‘”°“g"
20 dust as Dcten_dants remain unrepentant, the evidence at trial established that in
21 seeking to avoid liability for punitive damages they were Wllllng to manufacture a
22 defense designed to hide their misconduct as weil as establishing corporate practices to
23 hide their misconduct on an ongoing basls. The evidence which supports these factual
24 conclusions lncludee:
25 . 88. Presenting statistical claims about corporate practices based not on statistics
26 generated in the regular course of business but rather based on statistics
27 generated at the request ofthelr trial counsel O’ Connell Testirnony.
28 89. Presenting false testimony that they were returning their claimants to work when _

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1 they had no idea whether claimants who they classified as "return to worl<."
2 actually had done sc. Testirnony cf Kathy Rutiedge (rebuttal testimony).
3 90. Ciaiming that a large number of resolutions were due to people returning to work
4 or as a result of company rehabilitation efforts when the evidence revealed that
5 at beet, an insignificant portion of claimants benefitted from Defendants' return to
6 went/rehabilitation activities in many of the corporate documents admitted at
7 trial dealing with claim resolutions return to went/rehabilitation is not even
8 mentionedl Where mentioned and quantitled, the statistics revealed it was of
9 little import to the overall claim resolution process
10 9'l , Clalmlng that their corporate policies were the result cf consultants that they had
11 hired, When the evidence showed that they were already doing most of those
12 things the consultants recommended E)c. 46.
13 92. Having corporate policies designed to hide claim handling activities through
14 claims of attorney client privilege; E><.S; Ex. 99. `
15 93. Havlng corporate policies designed to hide claim handling activities by either not
16 creating or destroying documents material to the claims handling process E><.
17 iis; E><. 325 at 20; a><. 326 at ii; E><. 327 at 4,
18 94, As further evidence that Defendants refuse to accept responsibility for their own
19 conduct Was their attempt, through their expert Robert DiL|sic, to suggest that
20 Defendants’ conduct was not bad, because other companies engaged in like
21 behaviors and practices Whiie the credibility of this testimony was challenged
22 even if accepted it would not ameliorate to any significant degree the punitive
23 damages that are needed Rather, as discussed beicw, such testimony if true
24 supports the need for a higher award of punitive damages to accomplish the
25 deterrent purpose of such awarde.
26 lli, LEGAL ANALYSIS AND OONCL'USIONS OF LAW
27 The parties generally agree on the analysis that this Court must conduct of the
28 punitive damage awards at issue. The Court must consider the reprehensibillty cf
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Defendants' conduct, including considering ameliorative racts, the ratio between the
punitive damages awarded and the harm and potential harm suffered by the Plalntiff
and a comparison between the punitive damages awarded and any potential penalties
which were applicable to the conduct at issue BMi/i/ cf/\iorth America v. Gore, 517
u,s. sss, srs.sss gees). '

These standards have been addressed subsequently by the Supreme Court in
State Farm MutuaiAutomobi/e Ins. Oo, v, _Campbell, 538 U.S. 408 (2003), and several
decisions of the Ninth Circuit which control this Gourt’s discretionl iviuch ct this federal

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punitive damage constitutional analysis is set forth in the Ninth C|rcult's decision in /n re
Exxcn Sh/pping, 490 F.Sd '1066(9“1 Cir. 2007), reversed on other grounds Exxcn
Shlpping Co. v. Baker, 554 U.S. _, 128 S.Ci;v 2605 (2008). Of the three factors
identified in BMW i/. Gore, reprehensibillty is the most important one in determining

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Whetner a punitive award is constitutionally excessive State Farm V. Campbell, 538

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U.S. at 419. Because reprehensibility is the most important factor, the Oourt starts its

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analysis Wlth assessing the reprehensibility of Detendants' conduct in this case.
A. res nerendants Engeged in eighty reprehensible conduct
State Farm v. Campbell’s reprehensibiiitv analysis focused on five tactors:

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Whether: the harm caused was thsicai as opposed to eoonomlc; the
tortious conduct evinced an ind fference to or a reckless disre ard of the
health or safety or others;l the target of the conduct had financ al
vulnerabll|ty; the conduct involved repeated actions or was an isolated
|ncident; and the harm was the result of intentional malice, tricl<ery, cr
deceit, or mere accident

538 U.S, at 419. Subsequentiy, in Exxon Shipp/ng Co. v, Baker, 554 U.S. M, 128

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S.Ct. 2605, 2622 (2008), the GoLii't recognized that misconduct engaged in to obtain

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financial gain or augment profit was highly culpable deserving greater punishment
'i, Defenciante Engaged in l\iiisconductTo Augment Profits

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in this oase, all ct Defendants’ misconduct both directed at li/ierrlck and at their
disabled insureds at large as described in §§ ii A~D, warrants the conclusion that

De:fendante engaged in the conduct at issue in this case to augment their profits and to

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obtain improper financial gains. The evidence also establishes that such conduct was
successful and that Defendants have reaped hundreds of millions of dollars if not more
in benefittrom engaging in the conduct § il.B. l\lc award that his Court can make will
force Defendants to disgorge all the improper profits that they obtained. As described
below, these profits were obtained at the expense of physically, mentally,.emot|onally,
and economically vulnerable individuals, through repeated actions systematically
applied to deprive them of disability insurance benefits in their time of need.
Defendants have engaged in such conduct both with respect to lvlerrici< and to their
otherlnsureds for an extended period or time. Such conduct leads to the conclusion
thatthese Detendants engaged in highly reprehensible conduct
2. Defendants’ Conduct Gaused l\iiore Than Economic Harm

Both the Supreme Gourtin BMl/i/ and the i\linth Glrcuit in Exxon and other cases
have recognized that conduct Whioh causes emotional as well as economic harm is
more reprehensible than that which causes only economic hartn, BMl/i/ l/. Gore, 617
u.s. erere, n. 24; m re Exxon valdez, 490 i=.sd at toes-sc in stare Ferm v,
Campbe//, after remand, the Utah Suprarna vGoul‘t foundtliat insurance bad faith, and
the emotional distress lt causes, is more akin to a physical assau|tthan a pure
economic tort and remitted the punitive damages to a Q:i rat|o. The Suprerne Court
then denied further review. State Farm MutualAutomob/le /ns. Co. v, Campbe/l, 2004

ur 34, ss P.sd 409, 415 (uteh 2004), cent denied sss u.s. 374, 125 s.ot. 114 (2004).

i\|evacia law also recognizes that the tort of insurance bad faith goes beyond a mere
economic offense because lt deprives the insured of the bargained for consideration,
peace of mind. A/nsworth v. Comt)lned lns. Cc., 763 P.ch at 673, 677, cert denied, 493
u,s. sss rieser

` lvlerrici< in fact suffered substantial emotional distress and there is no reason to
doubt that other lnsureds, subjected to the same misconduct also suffered significant
emotional distress This Oourt may certainly consider such harm to others in
determining the reprehensiblilty cf Defendants’ conduct in re Exxon, 490 F,Bd at 1087.

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3, Defendant's Gonduct Risked the liealth and Safety ot‘ i\ilerrlcl<
and Others _

Virtualiy any disabled individual is at rlsl< of harm to their health and safety if a
disability insurance carrier deprives them cf their benefitsh Such contracts are entered
into for the purpose of protecting peace of mind, as welles financial assets, in times of '
need. Egan v. Mutual of Omaha Llfe /ns. Co,, 598 P.Zd 452, 456, modified on
rehearing, 622 P.2d 411 (Cai.1979), accord. A/nsworth, supra (heaith insuranoe). The
type of risks to health and safety that insureds may suffer when their benefits are cutoff
are described in some detail in the district court’s opinion in Hangarterv. Paul Revere
Llfe lns. Co., 236 F.Supp.Zd 1069, 'i096~97 (N.D. Cai\ 2002), affirmed in part, reversed
in part 373 F,sc see (9“‘ clr. 2004).

i\/lerrlci< himself Was similarly at rlsl<. At the time of Defendanta’ second Visit to

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lVlerrlcl<, his teenage son had recently died. i\/lerrlok's adult daughter had terminal
cancer and he was supporting her economically ita was supporting his father. At a
time of high emotional vulnerability Defendants attempted to settle lvlerriclt's claim for
two months of payments and a threat of litigation When he refused their low~bali
settlement offer, Defendants terminated benefits adding tc his emotional stress Whiie
l\/ierrici< had financial resources that he could turn to, the need to use funds otherwise
committed for day to day expenses was stressiui.
4. Defendants Targe'ced The Flnanclaily Vuinerable

All cf the evidence discussed_ln §§ il.A~B supra suggests that Defendants
targeted their financially vulnerable insuredsl E)<hlbits 44 and 75 demonstrate that
Defendants’ targeted individuals such as Ivlerrlci< in part because their illnesses often
left them vulnerable to pressure that Defendants could bring to beer upon them to
“achleve some type of resolution." That Defendants sought to take advantage of this is
reflected in their unsuccessful efforts to settle i\/lerricl<’s claims for minimal amounts
while threatening irrigatan to obtain previous payments §§ il.A, c, o.

Whiie lvierricl< himself was not left destitute, he felt financial stress when he
became disabled and then when Defen`clants terminated his benefits As a result of his

 

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disability he had left his occupation and was forced to scale back his standard of living.
Faced with the denial of benefits, he reached into savings and investments for which he
had other purposes, to meet current obligations such as supporting his own father, his
terminally ill daughter, and to aid in the support, along with cthers, onoung i\/lee
Jecng, who would later become his wife. § il.G.

In re Exxon again teaches that When assessing rsprehensibility the Court can
also consider the risk of harm to others when the conduct at issue was putting them at
risk too. Thera is little doubt that Defendants’ conduct directed at others was directed
at the financially vulnera bie. Agaln, a taste of that vulnerability ls reflected in the district

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courts opinion in Hangarter, supra Some lose their homes; some are forced on to
welfare; some are forced into bankruptcy That these consequences did not happen to
i\/lerr|ck is a matter efforiulty and not the result of Detendants taking steps to avoid

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harming their disabled insureds
5. Repeated Action
dust as there is no doubt that Defendants engaged in their misconduct for
financial gain, there is absolutely no doubt that they repeatedly engaged in misconduct

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with respect to both lvlerrick and their other insureds §§ ll.A~D.
The testimony and exhibits concerning Defendants’ use of “unamployed" as an
occupation left no doubt that itwas a technique repeatedly employed to defeat claims

regardless of its lack of contractual or legal merit.

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Defendante repeatedly engaged in misconduct towards l\ierrlcl_< through such

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means as the iow~baii settlement offers with threats of iltlgatlon, asserting reservations

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of rights and maintaining them without good cause, misrepresentingthat medical
reviewers had not found impairment when they actually had, repeatedly
misrepresenting that objective evidence was required to obtaln'claim payment when it

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Was ncta requirement ofthe policy and Defendants knew lt could not exist in light of

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Merrick’s lilness, refusing to assist Merriok in getting his claim paid, shifting the burden
of investigation to li/lerrlck, and closing his claim without cause on a rush basis to meet

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monthly, quarterly and/or year_~end goais.

Furihar, the evidence discussed in §§ il.A, B, D further establishes that the
conduct directed towards ivierrlck was not the result of accident or inadvertence but
was part of a widespread corporate plan or scheme to augment profits through wrongful
conduct targeted at disabled poiloyhoiders. Defenclants’ claims and testimony that
there was no such corporate plan were simply not credible in light of the overwhelming ’

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documentary evidence establishing that such a plan existed and was transmitted

8 through ali levels of the company from claims handlers to the board room.

9 Based on the evidence introduced at trial and taking into account matters cf

10 credibility, the only conclusion to be drawn is that Defendants engaged in a widespread
11 corporate pian, and conscious course of corporate conduct firmly grounded in `
12 established company policy, to disregard l\/ierrlcl<'s rights and the rights of.tens of

13 thousands, if not hundreds of thousands of other policyholders Defenclants’

14 misconduct indeed involved repeated action The length cftime and thousands of

15 individuals against whom Defendants improperly acted adds additional weight to the
16 conclusion that Defendants’ misconduct reaches the highest levels of reprehensib|llty.

17 6, Defendants Acted Wil:h iVialice, Trlcl<ery Or Deceit And Not By
Aociden'c

Baseci on the evidence discussed at §§ |i.A~B, there is no doubt that Defendants
acted consciously and deliberately and not by accident when they established and then
drove their new claim handling philosophy deep into their corporate culture. Ex. 95.

Wlth respect to l\/ierrici<’s olaim, which was handled in accord with Defendants’
corporate scheme the evidence discussed in §§ ii.C and D, clearly establishes that
Defendants acted maliciously, attempted to trick ivierrlck into giving up his claim for a
minimum settlement and acted deceitfully through intentional misrepresentation-
Defendants deliberately misrepresented what their own evaluators concluded and knew

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in their attempt to attain a settlement of the cialrn. Defendants threatened ivierrlck with
litigation if he did not give up his oiaim`. Defendants misrepresented repeatedly that he

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needed to provide objective evidence to get his ciaim paid. Defendants made these
misrepresentations knowing that such evidence did not exist with respect to l\/lerrlci<’s
disabliity. Desp|te knowing that it was their burden to fairly investigate claims,
Detendants put the burden of claims investigation on their disabled insureds, including
Meri'ici<, and then refused to assist him when he sought assistance from them in order
to fulfill the improperly shifted investigatory burden

The credible evidence introduced atti‘ia|, clearly establishes that Defendants
acted intentionally and maliciously both with respect to the establishment ot bad faith

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claims practices in generai, and with respect to ivierrioit’s claim in partlcular.

As the Nlnth Clrcult noted in E>c<cn, the BMW/Campbe/i guideposts should not
become an intellectual straight jacl<et. 490 F.Bd at 1083. The parties recognize this
end both Detendants and Plaintiff argue additional facts in support of their respective
positions. The Court agrees with those positions asserted by Piaintiff and disagrees

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Wlth those asserted by Defendants.
Detend_ants’ iaci< of repentanoe, refusal to acknowledge responsibility, attempts

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to hide their misconduct from discovery, and presentation ot false and misleading

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evidence to the jury all suggest a need for greater punishment and deterrence and add
to the sense that Det'endants' conduct le highly reprehensible v

Simiiariy, lt appears that prior punitive damage awards have been insufficient to
either punish or deter. Oonsldering what defendants have gained as reflected in § ii.B,

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lt is little wonder.
Defendants' attempts to justify their conduct through their expert Robeit DlLislo,
by suggesting that ali companies do what the evidence shows these Defendants did,

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does not, in the Gourt's view, ameliorate the reprehenslbillty cf the misconduct if

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anything, such evidence tends to suggest that a strong message needs to be sent to
validate i\ievada’s interest in both punishing these Detendants and deterring them and

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others from acting in the same way in the future.
b Againstthese other factors Dei'endants posit that their payment of Meriicit’s claim

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prior to merger and after accepting liability without reservation should be counted ln their

tavor, lt is not because such conduct was a contractual obligation. Derendants’ second

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claim that they paid benefits aftertermtnatlng Nierrlci<'s claim is true, But the Court
rejects Detendants' claim or innocent and good faith motives. Defendants at the time
they agreed to extend benefits for two months had already breached the ccntract, had
already lied to ivierrlck about what medical reviewers tound, what evidence was required
to obtain claim payment and had already shifted the burden of investigation to iVlerrlcl<,a
burden they knew he could not meet. ln light cf these facts, the Court agrees with

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Plaint|ff that the later payment of benefits was simply a tactical move by Defendants to
10 obscure their misconduct Lastly, the Court rejects the Detendants’ assertion that their
11 position was "hardiy arbitrary" and therefore reflected lower reprehensiblilty. The Oourt
12 agrees the conduct was hardly arbitrary, but not in the way the Detendants would prefer.
13 The evidence clearly established that Detehdants’ misconduct directed towards I\/lerrlcl<
14 was intentional and deliberate Defendants’ misconduct was not just the result ot
15 arbitrary action; rather, lt was intentional misconduct aimed at obtaining financial gain at
16 the expense of their disabled insured. Such conduct was and is highly reprehensible
17 7. Reprehensibility C»onclusion n '
18 Based on the Court’s reprehensiblllty analysis it concludes that the Detendants
19 intentionally engaged in misconduottowards Merrici< and thousands ct others for their
20 own tinanoial galn, The Gourt further concludes thatDetendants deliberately targeted
21 those who were physically, mentally, emotionally, and financially vulnerable The Oourt
22 concludes Deténdants repeatedly subjected i\/lerricit and thousands of others tc their
' 23 bad practices and subjected hundreds ct thousands to the risk of those bad practices
24 Final|y, the Court concludes that Detendants acted maliciously with trickery and deceit
25 towards ivierrlck and thousands of others of their insureds and again subjected hundreds
26 of thousands of insureds to the risk of their misconduct Det‘endants did not act by
27 accident The Qourt concludes that the reprehensiblllty of Defendants conduot'requires
' 28 punishment at the highest levels constitutionally permissible

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B. Ratlo
The`Oourt's ratio analysis will be governed by the analytic “rough frameworl<" laid

out by the Nlnth Clrcuit in the Exxon case.

in P/anned Parenthccd, we used this guidance from Stete Farm to
construct a "rough frameworl<“ for determining the aWroprlate ratio
of punitive damages to harm. See 422 F.3d at 96?_. c held that in
cases where there are "signlticant economic dama ee“ but behavior
is not “partloulariy egregious," a ratio of u to 4 to "serves as a
good proxy for the limits of constitutionall y.“ ld. (citln State Farm,
538 U.S. at 425, 123 S.Ot\ 'i5'i 3), in cases With sight oant economic
damages and “more egregious behavior," however, a singie~diglt
ratio higher than 4 to 'i "rnight be constitutionai." Id. (oitlng Zhang,
339 F,Sd at tO43-44'Ba/ns, 405 F.Scl at 776~77). Finaliy, in cases
where there are "insigniticant" economic damages and the behavior
is "partlcuiariy egregious," we said that "the slng|e»digit ratio may not
be a good proxyfor oonstitutionallty." ld.

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490 F.3d at '1093, This case clearlyfaiis within the second tier of that framewori<.

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i\/lerrlcl< clearly suffered significant economic loss and Defendants’ conduct was highly
reprehensible Defendants claim that the ratio should be reduced because of their prior
payments to Plalntlff and the regulatory settlements The chrt disagrees that these

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require any reduction with respect to Revere, or any substantial reduction not otherwise

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given under the l\llnth Olrcuit's framework with respect to UnumProvident. Defendants’

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prior payments of what they owed were made only after they were found liable for bad

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falth. Defenclants‘ payments after the first trial were made pursuantto reservation of
rlghts, a reservation which Was not removed even after the Nlnth Olrcult affirmed the
breach of contract and bad faith findings, and the findings that Defehdants acted with

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oppression. fraud or malloe. Defendants' payment of the underlying judgment does not

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ameliorate their misconduct They had no basis not to pay. Defendants remain _
unrepentant and continue to refuse to accept responsibility forthelr misconductl They

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get no credit for their prior payments .
The Reguiatory Settlement Agreements are also entitled to little credit in terms of

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reducing the permissible ratlo. Defendants entered such settlements for their own

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financially motivated reasons. Deiendants as reflected in the testimony they offered at

trial continue to deny any wrongdoing. As Defendants have never acknowledged or

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taken responsibility for their misconduct skepticism is appropriate

Further, the regulatory settlements did not deprive Defendants of their ill~gotten
gains to any substantial degree. Even though Defendants have been forced to post
additional reserves to cover those claims that they agreed to reopen, they maintain
control of those funds and the earnings they generate from them. Slmilar|y, Defendante
have not even attempted to fully compensate those harmed by their misconduct and, in
fact, required individuals who had their claims reopened to waive their rights to full
redrese. Ex, 350. These facts take something away from the ameliorative impact that

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the Regulatory Settlement Agreoments might have had-as the jury-so concluded
Additionaily, the finding of no violations on the Gallfcrnla reassessment was simply in

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keeping with the prior settlement and has no particular value with respect to reducing

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the appropriate ratios The regulatory settlements therefore have no particular value with

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respect to punishment Wlth respect to deterrence, the effects ct the changes remain

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to be seen.
The conductor Defendants is highly reprehensible without substantial
ameliorative behavior on their part. lt was engaged in for profit and targeted thousands

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of vulnerable individuals and put hundreds of thousands at rlsk. lt was repeated, and
involves malice, trickery and deceit and is not the product of accident Under these
circumstances a punitive ratio of up to ssi is not only epproprlr.rtel lt ls that which is
minimally necessary to meet Nevada's legitimate goals of punishment and deterrence

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in light of the reprehensibl|ity of the conduct and the wealth of the Defends\nts.21

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Just as the parties dispute what the appropriate ratio is, they dispute how lt

 

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See State Form v. Campbell, 538 U.S. at427; BMW ofNorth Amer/ca v. Gore, 517 U.S.
at 591 (Breyer, d. ooncurrlng). Here the amounts awarded by the jury are less than
0.45% of UnumProv|dent's netwcrth, Exhiblt 342, and less than 2.4% of Revere’s net
worth. E)<. 341, These percentages of netwealth as a measure of appropriate level of
punishment are well within ranges approved by the l\levada Supreme Court and are not
so punishing as to be constitutionally excessive Wohler's v. Bartg/S, 'lt4 l\iev. at i268-
1269, 949 P.2d at 962 the t\levada Suprems Oourt, in reducing punitive awards remitted
one to an amountthat was approximately 6.2% of the defendants net worlh.

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Mmmw%dmmeMmMm%mmmyBMWmemmwmmmGwam7u&m
575; Be// v.-Oiackames ccunty, 34~1 F.sd aea, ssr~aec (e“' Olr. 2003); AroertH.
i/i/oh/ers & Co, v. Bartgr's, 114 Nev. 1249, 1267~69, 969 P,Zd 949, 961»62 (i\lev. 1998)
(in bad faith case jury made separate punitive damage awards against separate
defendants and appellate court engaged in individualized assessment of each such
award). Defendants Were jointly and severally liable without apportionment for the
underlying harm their conduct caused, as found by the prior verdicts and judgments in
this case. it is inappropriate tc apportion the harm between theth Defendante. As
l/l/oh/ers, supra demonstrates that ls Nevada law.

As to what the denominator should be in the ratio _of punitive damages / actual
and potential harm, the Court also agrees with Plaintiff. The appropriate denominator
consists of the first trial judgment brought tc present value to which should be added
the post»trlai benefits paid to ivierrlck under reservation ot rights This figure is
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brought current to the date of the verdict at 3,3% compounded annually plus the
$486,799 in post first trial benefit payments

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As to UnumProvident, the ratio is $36,000,000 / $2,932,75'1.71 = 'i2.28:i. Under
the facts cfthis case, butfor the Ninth Olrcult’s “rcugh tramewori<" this ratio would notbe
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Defendants’ conduct was reprehensiblel it involved misconduct undertaken to augment
protit, targeted at the physical|y, mentaiiy, emotionally, and financially vulnerable it
involved repeated instances ofmisconduct deliberateiy, intentionaiiy, maitcioueiy,
engaged in with trickery and deceit lt involves conduct for which Defendants remain
unrepentant and refuse to accept responsibility lt involves deliberate attempts to hide
the misconduct Ncnetheiess, the judgment against UnumProvident must be reduced to

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a ratio of no more than 9:1. Scallng back the ratio also gives UnumProviclent some
credit for the ameliorative lmpaot, if any, of the regulatory settlement agreements and
prior payments

lt should be noted that Defendants have not attempted to fully compensate those
injured by their conduct and in faot,v conditioned payment on the underlying contractual
benefits on individuals giving up their right to fuil_oompensat|on. Exh|bit 350. Slmllarly,
though Detendants have had to post additional reserves, Exhibit G'i?., they maintain
control of those Reeerve funds and continue to earn income and profits from them. in
sum, Defendants continue to profit from theirimproperly obtained gains.

The Coul.t finds the conduct of Revere equally reprehensible to that of
UnumProvident. lt does nottind that the change in the ratio With respect to y
UnumProvident causes the Revere ratio to cause grossly disproportionate punishment

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between the two Det`endants.

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G. Compareble Penaitiee t
The last BMW/Gampbe/I factor to address is the matter of civil penalties As
reflected in the Ninth Clrcuit’s Exxon opinion§ the Court need not dwell on this factor

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because it is of little importance22 Further, What is clear is that the Nevada legislature

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considers insurance bad faith a serious matter, and that lt recognizes that substantial

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punitive damages are necessary to punish and deter such conduct The legislature

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specifically chose not to impose statutory caps on punitive damages for insurance bad
falthi NRS 42.005 (2)(b); NRS 42.007(2). Suoh an exception, in the face cfa prior
Nevada Supreme C.ourt case approving punitive damage ratios approaching 30:1,
Ainsworth supra, suggests that, but for the l\llnth Oircuit’s “rough frameworl<" ratio
analysls, the current awards as to both Revere and UnumProvldsnt are constitutionally

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22 490 F.Sd at’1094.
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D. _ lliliscelianeous Gont.entlcns

The Court concludes its decision addressing briefly the other matters raised by
Defendants, and addressed by Pialntlff in response

The C.ourt agrees with Plalntiff that in adopting the BMW/Campbell analysis in
Bong/‘oi// v. SulI/'van, 122 Nev. 556, 138 P.3d 433, 452 (2006), the Nevada Supreme
Court did so as a matter of judicial economy. All the facts Which support the `
constitutional propriety of that verdict and judgment also supportthe conclusion it is not

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excessive under Nevada laW. Because the verdict as to Revere falls within the
BMW/Campbe// analysis as interpreted by the Nlnth Olrcult, the verdict and judgment are

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10 not excessive under Nevada law.

11 Wlth respect to UnumProvldent, the Goul‘t specifically finds that the verdict and
12 judgment as entered would not be excessive under Nevada law, as the amounts

13 returned in terms of ratio and wealth of the defendant are well within parameters set by
14 the Nevada Supreme Court in Ainsworth and Woh/ers, involving conduct substantially
15 less egregious, and in the case of Wohlers substantial voluntary efforts at amslloratlon
16 and compensation

17 Finaiiy, the Gourt rejects the notion that the Nevada Supreme Oourtvvould adopt
18 as a rule ct decision the maritime law 1:i ratio recently announced by the Supreme

19 Gourt in Exxon Sh/pping >Co. v. Baker, 554 U.S. M, 128 S.Gt. 2605 (2008). F|rst, the
20 Court expressly stated in its opinion that its decision was not addressing constitutional
21 lssues; Seconci, the Nevada legislature has expressly rejected ratio or dollar caps on
22 punitive damages in insurance bad faith oases. in light of this act|cn, the Nevada

23 Supreme Oourtwould not adopt limits more restrictive than those rejected by the

24 legislature Finaliy, the Nevada Supreme Goult has previously approved ratios ~

25 approaching 30:'1 in insurance bad faith cases. thhlng suggests that the Court would
26 not approve such ratios again if oonstltutionaiiy permissible

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lV. CON GLUSlON
Fo_r the reasons set forth herein, Defendants' lvlotion for i\iew Trial, Remittitur or

Reductlon of Punliive Damages, Document Nc. bid is granted in part end denied in part
As to Defendant Paul Revere Llfe insurance Gompany the ivlotion le DENIED, As to
Defendant UnumProvldent Corporation the iviotion is granted as follows:

The Oourt hereby reduces the punitive damages against UnumProvldent on
constitutional grounds to the amount of $26,394,765,39, a ratio of Q:i. The Gleri< of
Courtis directed to vacate the priorjudgment at Dooument No. 512. Because the

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reduction of this punitive damage award against UnumProvldent on constitutional

10 grounds does not implicate the Seventh Amendrnent,'28 the Cierit of Gourt is further

11 directed to prepare an amended judgment that includes ali amounts in the prior

12 judgment except with a punitive damages award against UnumPrcviclent in the amount
13 of $26,394,765.39 rather than $36,000,000,00.

14 n is so onoaaac`

15 DONE this 14th day of November, 2008,

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27 23 See, e,g., Johansen v, Combustion Eng'g, Ino,, 170 F.Sd 1320, 1331 ti 'ith Clr. 1999);
Leathsrman Tool Group, Ino. v. Oooper/ndus., Ino,, 285 F.Sd 'i’i46, 1151 & n.3 (ch Glr.

28 2002).
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EXHIBIT G

EXHIBIT G

 

 

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Case No. ..

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. fifty 11 Ol‘m at!OH (prcvide bork home and mailing addresses szdiffererzt)
_Piaintit`t`(s) (name/address/phcne):

LV D¥AGNOST¥CS, LLC

Det`endant(s) (name/address/phone):
THE HARTFORD F¥NANC|AL SRV¥CES GROUP, |NC.

 

SENT|NEL |NSURANCE COMPANY, LTD

 

 

 

Attorney (name/address/phone):
Roger P. Croteau & Associates, Ltd.

Attorney (name/address/phoae):

 

9120 W. POSt Road, Ste. 100

 

l_as Vegas, NV 89148

 

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II. Natlll‘€ Of COIIU'{]V€I'SV (p!ease select the one most applicable filing z_‘rpe below)

Civil Case Filin§ Types

 

 

 

Reat Property 'I`orts

Landlordl'l`enant Negiigence Other rt`orts
i:]Unlawt`ul Detainer memo UProduct Liabitity
EOthsr Landiordfi`enant l:IPremises Liability mintentional Misconduct
Titie to Property EOther Negligence [:]Empioyment Tort
|:_i}udiciai Foreclcsure Malpractice Dtnsurance Tort
{:]Other Titie to Prcpcrty EMedical/Dentai l:iOther Tort

Other Reai Property E legal

ECondemnation/Eminent Dcmain EAccounting

m Other Real Property {:] Other Malpractice

Probate Construction Defect & Contract J udicial Review/Appeat

 

Pl'O ha fe (se!ect case type cner errata value)

Constrection Dcfect

[:_]Sununary Administration I:]Chapter 40

|:]General Administration [:]Other Construction Dct`ect
ESpecial Administration Contract Case

[:_iSet Aside I:]Uniform Commercial Code
ETrust/Conservatorship |___iBuilding and Construction
I:]Other Probate minsurance Carrier

Estate Vaiue I:lCommercial instrument
[:|ovsr $200,000 |:iccssaion crAccccss

 

Judiciat Review
EForeclosure Mediation Case
EIPetition to Seai Records
[:lMental Competency

Nevada State Agency Appeai
i:]Departrnent of Motor Vehicle
I:}Worker‘s Compcnsaticn
|:]Other Nevada State Agency

Appeat Other

 

 

 

[:_lBetwecn $iOO,UOO and $200,000 m§mployment Contract UAppsai from Lower Cour't
[:]Under $ t 00,000 or Unknown @Other Contract l:]Other Judicial RevieW/Appeai
[:]unser $2,500

Civil Writ Other Civil Fiiing
Civil W rit Other Civil Filing
[:]Writ of Habeas Corpus EWrit ot` Prohibitioa I:]Compromiso of Minor's Ciaim
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Nevada Bar No. 4958
TIMOTHY E. RHODA, ESQ.
Nevada Bar No. 7878

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Attorneysfor Plaint§ff

CLERK OF THE COURT

DISTRICT COURT
CLARK COUNTY, NEVADA

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Lv DIAGNosTICs, LLC, a Nevada limited A- l 7 - 7 5 3 6 7 l - C
liability company,

Case No. XVI I
Dept. No.

Plaintiffs,

VS.

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§
THE HARTFORD FINANCIAL SERVICES )
GROUP, lNC., a Cormecticut eorporation; )
SENTINEL INSURANCE COMPANY, LTD., )
A Conneotiout cox'poration; DOES lthrough X, )
inolusive; and ROE CORPORATIONS l )
through X, inclusive, )

)

Defendants.

 

COMPLAINT
COMES NOW, Plaintii`t`, LV DIAGNOSTICS, LLC, aNevada limited liability eompany, by
and through its attorneys, ROGER P. CROTEAU & ASSOCIATES, LTD., and hereby complains
and allege as follows:
PARTIES
l. At all times relevant to this matter, Plaintiff, LV DIAGNOSTICS, LLC, (hereincgfi'er
“Plaz`rzlz'jj"f), Was and is a Nevada limited liability company authorized to do business in the

State of Nevada.

Page 1 of 7

 

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At all times relevant to this matter, Defendant, THE HARTFORD FINANCIAL SERVICES
GROUP, lNC., dba THE H_ARTFORD, Was and is a Connecticut corporation
At all times relevant to this matter, Det`endant SENTINEL INSURANCE COMPANY,
LTD., Was and is a Connecticut corporation
Plaintifi" is unaware of the true names and capacities Whether individuals, corporation,
associate, or otherwise of Defendants DOES l through X and ROE Corporations 1 through
X, inclusive, and therefore sues these Defendants by such fictitious names Plaintiff is
informed and believes and thereupon alleges that the DOE and ROE CORPORATIONS
Dei`endants, and each of thein, are in some manner responsible and liable for the acts and
damages alleged in this Complaint. Plaintift` Will seek leave of this Court to amend this
Con'iplaint to allege the true names and capacities of the DOE and ROE CORPORATIONS
Defendants vvhen the true names of the DOES and ROE CORPORATI.ONS Defendants are
ascertained

GENERAL ALLEGATIONS
Plaintil"f repeats and realleges each and every allegation contained in paragraphs 1 through
4 hereof as if set forth fully herein
Plaintiff and Defendants entered into a contract of insurance covering the building and
business personal property at Plaintiffs’ location at 600 South Martin Luther King,
Boulevard, Las Vegas, Nevada (“Ihe Policy”).
The Policy’s coverage dates Were from December l, 2014 to December 1, 2015.
On or about April 8, 2015, De'l"endants’ business location Was the victim of a break-in that
resulted in the theft and loss of a substantial amount of Plaintit`t"s medical and business
equipment that Was covered by the policy for such a loss.
This loss Was first reported to Defendants on April 13, 2015 (“'l‘he claim "’).
On June 15, 2015, Defendants sent a letter to Plaintiff stating they Were attempting to
complete their investigation and adjustment oi` the loss and requested certain documentation

in support of the claim.

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Plaintiff provided documentation as requestedl The.reafter Defendants followed up with a
letter dated July 6, 2015, stating the documentation provided was insufficient and requested
addition records
Thereafter on a least two other occasions Plaintiff again provided Defendants with
documentation supporting the claim. Each time the documentation was deemed insufficient
by Defendants and the claim denied
As a result of Defendants’ actions, Plaintiff suffered damages in an amount to be determined
at trial.

FIRST CAUSE OF ACTION

(Breach of Contract)

Plaintiff repeats and realleges each and every allegation contained in paragraphs 1 through
13 hereof as if set forth fully herein
Th_ere was a valid and existing insurance agreement between Plaintiff and Defendants at the
time of Plarntrff’ s claim.
Plaintiff performed its duty under the contact by paying premiums and reporting the claim
of loss to Defendants.
Defendants breached the agreement, inter alia, by failing and refusing to compensate Plaintiff
for its rightful claim under said insurance contract
As a direct and proximate result of Defendants’ refusal and failure to compensate Plaintiff s
loss under the insurance contract, Plaintiff has suffered damages in an amount in excess of
Ten Thousand Dollars (810,000.00).
lt has become necessary for Plaintiff to retain the services of an attorney to protect its rights
and prosecute this claim, and is entitled to recover attorneys fees and costs.
Plaintiff reserves the right to amend this Complaint under the Nevada Rules of Civil

Procedure as further facts become known

Page 3 of 7

 

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SECOND CLAIM FOR RELIEF

 

(Breach of the Covenant of Good Faith and Fair Dealing » Contractual)
Plaintiff repeats and realleges each and every allegation contained in paragraphs l through
20 hereof as if set forth fully herein.
There is an implied covenant of good faith and fair dealing in every contract
Plaintiff and Defendants entered into a valid contract for insurance coverage
Defendants owed Plaintiff a duty of good faith and fair dealing arising from that contract
Defendants breached its duty of good faith and fair dealing by, inter alia, refusing to properly
compensate Plaintiff pursuant to its rightful claim for losses under said insurance contract
As a direct and proximate result of Defendants’ actions, Plaintiff has suffered damages in an
amount in excess of Ten Thousand Dollars (3310,000.00).
lt has become necessary for Plaintiff to retain the services of an attorney to protect its rights
and prosecute this claim and is entitled to recover attorney’s fees and costs.
Plaintiff reserves the right to amend this Cornplaint under the Nevada Ruies of Civil

Procedure as further facts become known

THIR]) CAUSE OF ACTION

 

(Breach of the Covenant of Good Faith and Fair Dealing - Tortions)
Plaintiff repeats and realleges each and every allegation contained in paragraphs l through
28 hereof as if set forth fully herein.
There is an implied covenant of good faith and fair dealing in every contract
Plaintiff and Defendants entered into a valid contract for insurance coverage
Defendants owed Plaintiff a duty of good faith and fair dealing arising from that contract
As an insurer, Defendants owed Plaintiff a fiduciary-like duty under the contract and there
was a special element of reliance by Plaintiff.
Defendants breached their duty of good faith and fair dealing by, infer alia, refusing to
properly compensate Plaintiff for its rightful claim for losses under said insurance contract

As a direct and proximate result of Defendants’ actions, Plaintiff has suffered damages in an

amount in excess of Ten Thousand Dollars (810,000.00).

Page 4 of 7

 

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lt has become necessary for Plaintiff to retain the services of an attorney to protect its rights
and prosecute this claim and is entitled to recover attorney’s fees and costs
Plaintiff reserves the right to amend this Complaint under the Nevada Rules of Civil
Procedure as further facts become known ‘
FOURTH CAUSE OF ACTION
(Bad Faith)
A Plaintiff repeats and realleges each and every allegation contained in paragraphs l through
37 hereof as if set forth fully herein
The acts and omissions of Defendants in failing to provide coverage for Plaintiff’ s losses as
set forth in this Complaint, and those yet to be discovered, constitute bad faith.
As a direct and proximate result of Defendants’ bad faith, Plaintiff has suffered damages in
an amount in excess of Ten Thousand Dollars (810,000.00).
Plaintiffs are further entitled to punitive damages as a result of its bad faith in the denial of
Plaintiffs claim NRS Plaintiff is further entitled to punitive damages as a result of
`Defendants’ breach of said duty and the covenant Plaintiff is further entitled to punitive
damages as a result of Defendants’ breach of said duty and the covenant NRS §42.005.
lt has become necessary for Plaintiff to retain the services of an attorney to protect their
rights and prosecute this claim and are entitled to recover their attorney’s fees and costs.
Plaintiff reserves the right to amend this Complai_nt under the Nevada Rules of Civil
Procedure as further facts become known
lt has become necessary for Plaintiff to retain the services of an attorney to protect its rights
and prosecute this claim and is entitled to recover attor.ney’s fees and costs
Plaintiff reserves the right to amend this Complaint under the Nevada Rules of Civil
Procedure as further facts become known
FIFTH CAUSE OF ACTION
(Unfair Trade Practices)
Pl_aintiff repeats and realleges each and every allegation contained in paragraphs l through

45 hereof as if set forth fully herein.

Page 5 of 7

 

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Defendants have engaged in unfair trade practices, including the failure in its obligation to

provide coverage on Plaintiff s claim.

As a direct and proximate result of Defendants’ unfair trade practices, Plaintiff has suffered

damages in an amount in excess of Ten Thousand Dollars ($10,000.00).

Plaintiff is further entitled to punitive damages as a result of Defendants engaging in unfair

trade practices

lt has become necessary for Plaintiff to retain the services of an attorney to protect its and

prosecute this Claim.

Plaintiff reserves the right to amend this Complaint under the Nevada Rules of Civil

Procedure as further facts become known

WHEREFORE, Plaintiff, LV Diagnostics, LLC, prays for judgment as follows:

A. On itsFirst Claim for Relief, for general and special damages in excess of Ten
Thousand Dollars ($10,000.00);

B. On its Second Claim for Relief, for general and special damages in excess of Ten
Thousand Dollars ($10,000.00);

C. On its Third Claim for Relief, for general and special damages in excess of Ten
Thousand Dollars ($10,000.00);

D. On its Fourth Claim for Relief, for general and special damages in excess of Ten
Thousand. Dollars (810,000.00);

E. On its Fifth Claim for Relief, for general and special damages in excess of Ten
Thousand Dollars ($10,000.00);
For punitive damages in an amount to be determined at trial;

G. For costs and attorneys’ fees incurred in bringing this action; and

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H. For such other and further relief as this Court may deem meet and proper.
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DATED this 7 day of April, 2017.
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Nevada Bar o. 4958
TlMOTHY E. RHODA, ESQ.
Nevada Bar No. 7878
ROGER P. CROTEAU &' ASSOCIATES, LTD.
9120 West Post Road, Suite 100
Las Vegas, Nevada 89148
Attorneysfor PlaintW
LV DIA.GNOSTICS, LLC

 

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